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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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Proposed Counsel for the Official Committee of
Unsecured Creditors
 In re:                                                        Chapter 11

 BED BATH & BEYOND INC., et al.,1                              Case No. 23-13359 (VFP)

                                   Debtors.                    (Jointly Administered)

                                                                  Hearing Date: Only if an objection is timely filed
                                                                              Objection Deadline: June 15, 2023



 APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
       THE DEBTORS, BED, BATH & BEYOND, INC., ET AL., FOR ORDER
   AUTHORIZING EMPLOYMENT AND RETENTION OF ALVAREZ & MARSAL
             NORTH AMERICA, LLC AS FINANCIAL ADVISOR,
                     EFFECTIVE AS OF MAY 10, 2023




 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.



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         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the jointly

 administered chapter 11 cases of the above-captioned debtors and debtors in possession

 (collectively, the “Debtors”) hereby submits this application (the “Application”) for entry of an

 order pursuant to sections 328 and 1103 of title 11 of the United States Code (the “Bankruptcy

 Code”), authorizing the employment and retention of Alvarez & Marsal North America, LLC

 (together with its and its affiliates’ and wholly owned subsidiaries’ respective agents, independent

 contractors, and employees, “A&M”), as financial advisor to the Committee, effective as of May

 10, 2023. In support of this Application, the Committee relies on the declaration of Mark

 Greenberg (the “Greenberg Declaration”), attached hereto as Exhibit A and incorporated herein

 by reference. The proposed order is attached hereto as Exhibit B. In further support of this

 Application, the Committee respectfully states as follows:

                                                JURISDICTION

                  1.          This Court has jurisdiction over this Application under 28 U.S.C. §§ 157

 and 1334 and the Standing Order, dated July 23, 1984, referring all cases under the Bankruptcy

 Code to the bankruptcy judges for this District, as amended on September 18, 2012. Standing

 Order of Reference 12-1 (Simandle, C.J.). Venue is proper in this District pursuant to 28 U.S.C.

 §§ 1408 and 1409.

                  2.          This matter is a core proceeding under 28 U.S.C. § 157(b), and the Court

 may enter a final order consistent with Article III of the United States Constitution.

                  3.          The statutory and legal predicates for the relief requested herein are sections

 328(a) and 1103 of the Bankruptcy Code (as defined below), Rules 2014 and 2016 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2014-1 and 2016-1 of the

 Local Bankruptcy Rules for the District of New Jersey (the “Local Bankruptcy Rules”).


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                                              BACKGROUND

                  4.          On April 23, 2023 (the “Petition Date”), each of the Debtors filed a

 voluntary petition for relief pursuant to chapter 11 of the Bankruptcy Code in the United States

 Bankruptcy Court for the District of New Jersey (the “Court”).

                  5.          The Debtors continue to operate their business as debtors-in-possession

 pursuant to Bankruptcy Code sections 1107(a) and 1108.

                  6.          These Chapter 11 Cases are being jointly administered pursuant to the

 Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting Related Relief

 (Dkt. 75), entered on April 24, 2023.

                  7.          On May 5, 2023 (the “Formation Date”), the United States Trustee for

 Region 3 (the “U.S. Trustee”) appointed the Committee pursuant to Bankruptcy Code section

 1102(a). See Notice of Appointment of Official Committee of Unsecured Creditors [Docket No.

 218], May 5, 2023.

                  8.          On May 8, 2023, the Committee selected Pachulski Stang Ziehl & Jones

 LLP (“PSZJ”) to serve as legal counsel to represent them in these Chapter 11 Cases, and on May

 10, 2023, selected A&M to provide financial advisory services to the Committee.

                                           RELIEF REQUESTED

                  9.          By this Application, the Committee requests entry of an order, in the form

 attached hereto as Exhibit B, pursuant to Bankruptcy Code sections 328 and 1103(a) of the

 Bankruptcy Code, and Bankruptcy Rule 2014(a) approving the employment and retention of A&M

 as financial advisor to the Committee in these chapter 11 cases.

                  10.         The Committee requests that A&M’s retention be approved effective as of

 May 10, 2023.


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                  11.         The Committee is familiar with the professional standing and reputation of

 A&M. The Committee understands and recognizes that A&M has a wealth of experience in

 providing financial advisory services in restructurings and reorganizations and enjoys an excellent

 reputation for services it has rendered in chapter 11 cases on behalf of debtors and creditors

 throughout the United States.

                  12.         The services of A&M are deemed necessary to enable the Committee to

 assess and monitor the efforts of the Debtors and their professional advisors to maximize the value

 of their estates and recoveries to the unsecured creditors. Further, A&M is well qualified and able

 to represent the Committee in a cost-effective, efficient, and timely manner.

                                           SCOPE OF SERVICES

                  13.         The Committee and A&M arrived at a mutual agreement as to the

 substantial efforts that will be required in this engagement as described herein. Subject to an order

 of the Court, A&M will provide such advisory services to the Committee and its legal advisors as

 A&M and the Committee deem appropriate and feasible over course of these chapter 11 cases,

 including but not limited to the following:

                  (a)         Assist in the assessment and monitoring of cash flow budgets, liquidity and
                              operating results;

                  (b)         Assist in the review of Court disclosures, including the Schedules of Assets
                              and Liabilities, the Statements of Financial Affairs, and Monthly Operating
                              Reports;

                  (c)         Assist in the review of the Debtors’ cost/benefit evaluations with respect to
                              the assumption or rejection of executory contracts and/or unexpired leases;

                  (d)         Assist in the analysis of any assets and liabilities and any proposed
                              transactions for which Court approval is sought;

                  (e)         Attend meetings with the Debtors, the Debtors’ lenders (including DIP
                              lenders) and creditors, the Committee and any other official committees
                              organized in these chapter 11 cases, the U.S. Trustee, other parties in
                              interest, and professionals hired by the same, as requested;
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                  (f)         Assist in the review of any tax issues;

                  (g)         Assist in the investigation of causes of actions;

                  (h)         Assist in the review of the claims reconciliation and estimation process;

                  (i)         Assist in the analysis of the sales or dispositions of the Debtors’ assets,
                              including leases and inventory, and intellectual property;

                  (j)         Assist in the review of the Debtors’ going out of business sale;

                  (k)         Assist in the review and/or preparation of information and analysis
                              necessary for the confirmation of a plan in these chapter 11 cases; and

                  (l)         Render such other general business consulting or such other assistance as
                              the Committee or its counsel may deem necessary, consistent with the role
                              of a financial advisor and not duplicative of services provided by other
                              professionals in these chapter 11 cases.

                  14.         In order for A&M to perform the services set forth above, it will be

 necessary for A&M personnel to have access to certain books, records and reports of the Debtors

 and to have discussions with the Debtors’ personnel. Accordingly, the Committee understands

 that, to the extent A&M is not given the Debtors’ cooperation or access to the Debtors’ personnel,

 books and records and other sources of data, A&M’s ability to provide the services set forth above

 will be limited.

                  15.         Because of the potential limitations in this proposed retention, the depth of

 A&M’s analysis and verification of the data could be similarly limited. It is understood by the

 Committee that A&M is not being requested to perform an audit and that A&M will rely on the

 accuracy and validity of the data disclosed to A&M or supplied to A&M by, or on behalf of,

 employees and representatives of the Debtors or the Committee. A&M is not updating, nor is

 A&M under any obligation to update, data submitted to A&M or reviewing any other areas unless

 specifically requested by the Committee.




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                  16.         The Committee understands that the services to be rendered may include a

 review and assessment of projections and other forward-looking statements and that numerous

 factors can affect the actual results of the Debtors’ operations, which may materially and adversely

 differ from those projections and other forward-looking statements.

                  17.         All advice (written or oral) provided by A&M to the Committee in

 connection with this engagement is intended solely for the benefit and use of the Committee in

 considering the matters to which this engagement relates.

                  18.         In the provision of services to the Committee, it is expected that the

 Committee and third parties will provide to A&M certain personally identifiable information or

 other personal data regarding employees, creditors and other constituents, the processing or

 transfer of which may be subject to Data Protection Laws. “Data Protection Laws” means all

 applicable U.S. and foreign national, federal, state and/or local laws, rules, regulations or other

 binding instruments in relation to the processing or protection of personal data, including, but not

 limited to, the EU General Data Protection Regulation (GDPR). In furtherance thereof, the

 Committee acknowledges and agrees: it is expected that such information (and work product

 containing such information) will be transferred by A&M, on behalf of the Committee, to third

 parties including other agents and professionals of the Committee acting within this matter (i.e.,

 the Committee’s counsel and other advisors) as well as, at the Committee’s direction, other

 constituents in the Debtors’ cases, including but not limited to creditors and their representatives

 as well as any applicable judicial, regulatory or governmental bodies; and, that A&M’s transfer of

 such data directly to third parties (rather than by the Committee to a third party) is for the

 Committee’s convenience and such transfers shall always be deemed to be on the Committee’s




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 behalf. Without limiting the foregoing, each party agrees to comply with Data Protection Laws in

 connection with the services being provided by A&M to the Committee.

                  19.         From time to time A&M may utilize the services of the employees of its

 affiliates in the performance of services hereunder. Such affiliates are wholly-owned by A&M’s

 parent company and certain employees.

                  20.         To the extent A&M utilizes any subcontractors, the time of any such

 subcontractor will be paid by A&M and charged to the Debtors as a cost incurred by A&M (not a

 fee earned by A&M). A&M will not charge any markup to the Debtors with respect to amounts

 billed by any such subcontractors. Subcontractors are subject to the same conflict checks as

 required for A&M; and A&M will file with the Court such disclosures required by Bankruptcy

 Rule 2014.

                  21.         Because A&M and its professional service provider affiliates and

 subsidiaries comprise a consulting firm (the “Firm”) that serves clients on an international basis in

 numerous cases, both in and out of court, it is possible that the Firm may have rendered or will

 render services to, or have business associations with, other entities or people which had, have or

 may have relationships with the Committee members. The Firm will not be prevented or restricted

 by virtue of providing the services under this Agreement from providing unrelated services to other

 entities or individuals, including entities or individuals whose interests may be in competition or

 conflict with the Committee members, provided the Firm makes appropriate arrangements to

 ensure that the confidentiality of information is maintained and provided further that A&M will

 not represent the interests of any entities or people in connection with matters that would materially

 affect the ability of A&M to perform this engagement.




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                                      PROFESSIONAL COMPENSATION

                  22.         The Committee has agreed to the following compensation, in addition to

 certain indemnification obligations described below, for the services to be provided by A&M in

 these chapter 11 cases:

                  (a)         Hourly Rates: A&M will be paid by the Debtors for the services of A&M
                              professionals at the following hourly rates, subject to periodic adjustments:

                                i.     Managing Directors           $1,025 - $1,375
                                ii.    Directors                    $775 - $975
                                iii. Associates                     $575 - $775
                                iv. Analysts                        $425 - $550

                              A&M’s hourly rates are subject to annual periodic adjustments on a
                              calendar year basis to reflect economic and other conditions.

                  (b)         Expense Reimbursement: A&M will be reimbursed for reasonable and
                              necessary out-of-pocket expenses incurred in connection with these chapter
                              11 cases, including transportation costs, lodging, and meals. Expenses will
                              be billed at actual costs.

                  23.         The proposed order provides that A&M shall file applications for interim

 and final allowance of compensation and reimbursement of expenses pursuant to the procedures

 set forth in Bankruptcy Code sections 330 and 331, such Bankruptcy Rules as may then be

 applicable, the Local Bankruptcy Rules, and any applicable orders and procedures of this Court,

 including the General Order Adopting Guidelines Governing Procedures for Payment of Interim

 Compensation and Reimbursement of Expenses to Professionals, dated March 31, 2003 (the

 “Guidelines”), and the Administrative Fee Order Establishing Procedures for the Allowance and

 Payment of Interim Compensation and Reimbursement of Expenses of Professionals Retained by

 Order of this Court (the “Interim Compensation Order”) [Docket No. 377].

                  24.         None of PSZJ, the Committee, the members of the Committee, nor any of

 their agents, are or shall be responsible for payment of A&M’s fees and costs arising out the

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 engagement described herein, regardless of whether or not A&M is paid in full from the Debtors’

 estates.

                                    INDEMNIFICATION PROVISIONS

                  25.         The Committee has agreed that neither A&M nor any of its agents,

 representatives, members or employees shall have any liability (whether direct or indirect, in

 contract or tort or otherwise), to the Committee for, or in connection with, the engagement of A&M

 contemplated hereunder except for any such liability for losses, claims, damages or liabilities

 incurred by the Committee that are finally judicially determined by the Court to have resulted from

 the bad faith, gross negligence or willful misconduct of A&M.

                  26.         As part of the overall compensation payable to A&M, subject to paragraphs

 28 and 29 below, the Committee has agreed to request that the Court require the Debtors to

 indemnify, defend and hold harmless A&M and its affiliates and their respective personnel

 (“Indemnified Parties”) for any claims arising from, related to, or in connection with A&M’s

 engagement and to request that this Court enter an order approving such indemnification obligation.

                  27.         In addition, subject to paragraphs 28 and 29 below, in the event that, at any

 time whether before or after termination of the engagement or the Agreement, as a result of, or in

 connection with, A&M’s engagement and its personnel’s role hereunder, A&M or any Indemnified

 Party is required to produce any of its personnel (including former employees) for examination,

 deposition or other written, recorded or oral presentation, or A&M or any of its personnel

 (including former employees) or any other Indemnified Party is required to produce or otherwise

 review, compile, submit, duplicate, search for, organize or report on any material within such

 Indemnified Party’s possession or control pursuant to a subpoena or other legal (including

 administrative) process, the Committee requests that the Court approve the Debtors’ obligation to


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 reimburse the Indemnified Party for its out-of-pocket expenses, including the reasonable fees and

 expenses of its counsel, and to compensate the Indemnified Party for the time expended by its

 personnel based on such personnel’s then current hourly rate.

                  28.         The Debtors shall have no obligation to indemnify A&M for any claim or

 expense that is either (i) judicially determined (the determination having become final) to have

 arisen from A&M’s bad faith, gross negligence or willful misconduct, or (ii) settled prior to a

 judicial determination as to A&M’s bad faith, gross negligence or willful misconduct but

 determined by this Court, after notice and a hearing pursuant to paragraph 29 below, to be a claim

 or expense for which A&M is not entitled to receive indemnity under the terms of this Application.

                  29.         If, before the earlier of (i) the entry of an order confirming a chapter 11 plan

 in these cases (that order having become a final order no longer subject to appeal), and (ii) the

 entry of an order closing these chapter 11 cases, A&M believes that it is entitled to the payment of

 any amounts by the Debtors on account of the Debtors’ indemnification, contribution and/or

 reimbursement obligations described above, including, without limitation, the advancement of

 defense costs, A&M must file an application therefore in this Court, and the Debtors may not pay

 any such amounts to A&M before the entry of an order by this Court approving the payment. This

 paragraph is intended only to specify the period of time under which the Court shall have

 jurisdiction over any request for fees and expenses by A&M for indemnification, contribution or

 reimbursement and not a provision limiting the duration of the Debtors’ obligation to indemnify

 A&M.

                  30.         The Committee respectfully submits that these indemnification provisions

 are reasonable for financial advisory engagements both out of court and in chapter 11 cases.




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 Accordingly, as part of this Application, the Committee requests that this Court approve the

 indemnification provisions.

                                    NO DUPLICATION OF SERVICES

                  31.         The Committee believes that the services provided by A&M will not

 duplicate the services that other professionals will be providing to the Committee in these chapter

 11 cases. Specifically, A&M will carry out unique functions and will use reasonable efforts to

 coordinate with the Committee, PSZJ, and the other professionals retained in these chapter 11

 cases to avoid the unnecessary duplication of services.

                 A&M’S RELATIONSHIPS AND CONFLICTS DISCLOSURES

                  32.         The Committee understands that A&M has no connection with the Debtors,

 their creditors, or other parties in interest, except as otherwise set forth in the Greenberg

 Declaration.      Notwithstanding those connections, in accordance with Bankruptcy Code

 section 1103(b), the Committee understands, as set forth in the Greenberg Declaration, that A&M

 does not represent any other entity having an adverse interest in connection with the chapter 11

 cases.

                  33.         A&M has conducted, and will conduct, an ongoing review of its files to

 ensure that no conflicts or other disqualifying circumstances exist or arise. If any new material

 facts or relationships are discovered, A&M will supplement its disclosure to this Court.

                  34.         A&M has agreed not to share with any person or firm the compensation to

 be paid for professional services rendered in connection with these cases.

                                       APPLICABLE AUTHORITY

                  35.         The Committee submits that the retention of A&M under the terms

 described herein is appropriate under sections 1103(a) and 328(a) of the Bankruptcy Code.


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                  36.         Section 1103(a) of the Bankruptcy Code provides, in relevant part, that a

 creditors’ committee, with the Court’s approval, “may select and authorize the employment by

 such committee of one or more attorneys, accountants, or other agents, to represent or perform

 services for such committee.” 11 U.S.C. § 1103(a). Bankruptcy Rule 2014(a) provides, in relevant

 part, that “[a]n order approving the employment of . . . professionals pursuant to . . . § 1103 . . . of

 the Code shall be made only on application of the trustee or committee.” Fed. R. Bankr. P. 2014(a).

                  37.         Section 328(a) of the Bankruptcy Code provides, in relevant part, that a

 creditors’ committee:

                  with the court’s approval, may employ or authorize the employment
                  of a professional person under section . . . 1103 of this title . . . on
                  any reasonable terms and conditions of employment, including on a
                  retainer, on an hourly basis, on a fixed or percentage fee basis, or on
                  a contingent fee basis. Notwithstanding such terms and conditions,
                  the court may allow compensation different from the compensation
                  provided under such terms and conditions after the conclusion of
                  such employment, if such terms and conditions prove to have been
                  improvident in light of developments not capable of being
                  anticipated at the time of fixing such terms and conditions.

 11 U.S.C. § 328(a). Bankruptcy Rule 2014(a) further provides, in relevant part, that “[t]he

 application shall state the specific facts showing the necessity for the employment, . . . the reasons

 for the selection, the professional services to be rendered, [and] any proposed arrangement for

 compensation[,]” which pursuant to Bankruptcy Code section 328(a), can include “any reasonable

 terms and conditions of employment, including on a retainer, on an hourly basis, on a fixed or

 percentage fee basis, or on a contingent fee basis.” Fed. R. Bankr. P. 2014(a); 11 U.S.C. § 328(a).

                  38.         The Committee submits that the terms and conditions of A&M’s retention

 as described herein, including the proposed fee structure and indemnification terms, are reasonable

 and in line with the terms and conditions typical for engagements of this size and character.

 Because the Committee will require substantial assistance with the bankruptcy process, it is
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 reasonable for the Committee to seek to employ and retain A&M to serve as its financial advisor

 on the terms and conditions set forth herein.

                                            NO PRIOR REQUEST

                  39.         No prior application for the relief requested herein has been made to this or

 any other court.

                                                   NOTICE

                  40.         Notice of this Application has been given to the following parties: (a) the

 U.S. Trustee for the District of New Jersey; (b) counsel for the Debtors; and (c) all parties

 requesting notice in these cases pursuant to Bankruptcy Rule 2002. The Committee submits that,

 in light of the nature of the relief requested, no other or further notice need be given. In light of

 the nature of the relief requested herein, the Debtors submit that no other or further notice is

 required.

                                                CONCLUSION

         WHEREFORE, the Committee respectfully requests that the Court enter an order granting

 the relief requested herein, substantially in the form of the proposed order attached hereto as

 Exhibit B, and such other and further relief as the Court deems just and proper


 Dated: June 8, 2023                                 THE OFFICIAL COMMITTEE OF UNSECURED
                                                     CREDITORS OF BED BATH & BEYOND, INC.,
                                                     et al.



                                                          Michael Mandell, Ryder Integrated Logistics,
                                                          Inc., solely in his capacity as Chair of the
                                                          Official Committee of Unsecured Creditors of
                                                          Bed Bath & Beyond, Inc., et al., and not in any
                                                          other capacity



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                                             Exhibit A
                                           (Declaration)




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UNITED STATES BANKRUPTCY COURT
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Proposed Counsel for the Official Committee of
Unsecured Creditors
 In re:                                                        Chapter 11

 BED BATH & BEYOND INC., et al.,1                              Case No. 23-13359 (VFP)

                                   Debtors.                    (Jointly Administered)

            DECLARATION IN SUPPORT OF APPLICATION OF THE
           OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF
 BED, BATH & BEYOND., ET AL., FOR ORDER AUTHORIZING EMPLOYMENT AND
         RETENTION OF ALVAREZ & MARSAL NORTH AMERICA, LLC
          AS FINANCIAL ADVISORS EFFECTIVE AS OF MAY 10, 2023

          Pursuant to Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), I, Mark Greenberg, declare under penalty of perjury that:




 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.



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                  1.          I am a Managing Director with Alvarez & Marsal North America, LLC

 (together with its and its affiliates’ wholly owned subsidiaries’ respective agents, independent

 contractors and employees “A&M”), a financial advisory services firm with numerous offices

 throughout the country.

                  2.          I have reviewed and submit this Declaration on behalf of A&M (this

 “Declaration”) in support of the application (the “Application”) of the Official Committee of

 Unsecured Creditors (the “Committee”) of Bed, Bath & Beyond, Inc., and its affiliated debtors

 and debtors in possession (collectively, the “Debtors”), for an order authorizing the employment

 and retention of A&M as financial advisor under the terms and conditions set forth in the

 Application.2 Except as otherwise noted,3 I have personal knowledge of the matters set forth

 herein.

                                     PROFESSIONAL COMPENSATION

                  3.          A&M will apply to the Court for allowances of compensation and

 reimbursement of expenses for its financial advisory support services in accordance with the

 applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, corresponding Local Rules,

 orders of this Court and guidelines established by the Office of the United States Trustee.

                  4.          According to A&M’s books and records, during the ninety-day period prior

 to the Debtors’ petition date, A&M performed no professional services or incurred any

 reimbursable expenses on behalf of the Debtors. To the best of my knowledge, (a) no commitments

 have been made or received by A&M with respect to compensation or payment in connection with

 these cases other than in accordance with the provisions of the Bankruptcy Code and (b) A&M has



 2
  Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application.
 3
  Certain of the disclosures herein relate to matters within the personal knowledge of other professionals at A&M and
 are based on information provided by them.
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 no agreement with any other entity to share with such entity any compensation received by A&M

 in connection with these Chapter 11 cases.

                  5.          The Committee has agreed to the following compensation, in addition to

 certain indemnification obligations described below, for the services to be provided by A&M in

 these chapter 11 cases:

                  (c)         Hourly Rates: A&M will be paid by the Debtors for the services of A&M
                              professionals at the following hourly rates, subject to periodic adjustments:

                                    i.    Managing Directors        $1,025 - $1,375
                                    ii.   Directors                 $775 - $975
                                    iii. Associates                 $575 - $775
                                    iv. Analysts                    $425 - $550

                              A&M’s hourly rates are subject to annual periodic adjustments on a
                              calendar year basis to reflect economic and other conditions.

                  (d)         Expense Reimbursement: A&M will be reimbursed for reasonable and
                              necessary out-of-pocket expenses incurred in connection with these chapter
                              11 cases, including transportation costs, lodging, and meals. Expenses will
                              be billed at actual costs.

                               DISINTERESTEDNESS AND ELIGIBILITY

                  6.          A&M, together with its professional service provider affiliates (the “Firm”),

 utilize certain procedures to determine the Firm’s relationships, if any, to the parties that may have

 a connection to the Debtors. In implementing the Firm procedures, the following actions were

 taken to identify the Firm’s relationships with such parties:

                              (a)         In connection with the preparation of this Declaration, A&M

 requested and obtained from the Debtors the list of potentially interested parties in the Debtors’

 Chapter 11 cases. The Debtors provided A&M with a list categorized as follows: Bondholder;

 Debtor; Debtor Professional; Depository Banks; Director/Officer; Equity Shareholder; Freight

 Provider; Guarantor; Insurance Provider; Interested Party; Landlord; Lender Advisor; Letter of

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 Credit Beneficiary; Letter of Credit Provider; Litigation; Non-Debtor Affiliate; Office of the

 United States Trustee; Ordinary Course Professional; Secured Lender; Trade; UCC Lien;

 Unsecured Noteholder; which list is attached as Exhibit 1 hereto (the “Potential Parties in Interest”).

                              (b)     A&M then compared the names of each of the Potential Parties in

 Interest to the names in its master electronic database of the Firm’s current and recent clients (the

 “Client Database”). The Client Database generally includes the name of each client of the Firm,

 the name of each party who is or was known to be adverse to the client of the Firm in connection

 with the matter in which the Firm is representing such client, the name of each party that has, or

 had, a substantial role with regard to the subject matter of the Firm’s retention, and the names of

 the Firm professionals who are, or were, primarily responsible for matters for such clients.

                              (c)     An email was issued to all Firm professionals requesting disclosure

 of information regarding: (i) any known personal connections between the respondent and/or the

 Firm on the one hand, and certain significant Potential Parties in Interest and the Debtors, on the

 other hand,4 (ii) any known connections or representation by the respondent and/or the Firm of

 any of those Potential Parties in Interest in matters relating to the Debtors; and (iii) any other

 conflict or reason why A&M may be unable to represent the Committee.




 4
   In reviewing its records and the relationships of its professionals, A&M did not seek information as to whether any
 A&M professional or member of his/her immediate family: (a) indirectly owns, through a public mutual fund or
 through partnerships in which certain A&M professionals have invested but as to which such professionals have no
 control over or knowledge of investment decisions, securities of the Debtors or other parties in interest; or (b) has
 engaged in any ordinary course consumer transaction with any party in interest. If any such relationship does exist, I
 do not believe it would impact A&M’s disinterestedness or otherwise give rise to a finding that A&M holds or
 represents an interest adverse to the Debtors’ estate. It is also noted that in the course of our review it came to A&M’s
 attention that A&M personnel hold de minimis investments, representing not more than 0.01% of the equity interests
 in the related entity, in various parties in interest, AT&T, Bank of America, Citibank NA, Deutsche Bank, Facebook,
 JP Morgan, Pinterest, Travelers Casualty & Surety Insurance Company of America, UBS AG, Verizon and Wells
 Fargo.

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                              (d)    Based on such review, known connections between the Firm and the

 Potential Parties in Interest were compiled for purposes of preparing this Declaration. These

 connections are listed in Exhibit 2 annexed hereto.

                  7.          Based on the results of its review, A&M does not have a relationship with

 any of the parties on Exhibit 1 in connection with these proceedings except as otherwise described

 below.

                  8.          In addition to the connections set forth on Exhibit 2, I note the following:

                  (a)         JPMorgan Chase Bank, N.A. (“JPMC”) together with certain of its affiliates

 (collectively, “JPMC”), Wells Fargo Bank, N.A. (“WFB”) together with certain of its affiliates

 (collectively, “Wells Fargo”), HSBC Bank USA, N.A. together with certain of its affiliates

 (collectively “HSBC”), Webster Bank and TD Bank, N.A., together with certain of its affiliates

 (collectively, “TD Bank”) are Potential Parties in Interest. Under a credit facility (the “Credit

 Facility”) to A&M’s parent company Alvarez & Marsal Holdings, LLC (“A&M Holdings”): WFB

 is administrative agent, swingline lender and issuing lender, and JPMC is a lender and the

 syndication agent; Wells Fargo Securities, LLC and JPMC are joint lead arrangers and joint book

 runners; and Webster Bank, N.A., HSBC and TD Bank are participating lenders and

 documentation agents. In addition to Wells Fargo’s receipt of interest in its capacity as a lender

 under the Credit Facility, Wells Fargo, JPMC, HSBC and TD Bank receive certain customary and

 negotiated fees and reimbursement of expenses in connection with their roles under the Credit

 Facility.

                  (b)         On February 10, 2023, BBB Canada Ltd. was granted protection under the

 Canadian Companies’ Creditors Arrangement Act (“CCAA”). Pursuant to the initial order of the

 Ontario Superior Court of Justice (Commercial List), A&M’s Canadian affiliate, Alvarez & Marsal


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 Canada Inc. was appointed as monitor in those CCAA proceedings. BBB Canada is a wholly-

 owned subsidiary of Bed Bath & Beyond Inc. (“BBBI”). As of the date of this filing, the liquidation

 and closure of BBB Canada’s 65 stores in Canada have been completed. There is a Court hearing

 scheduled on June 22, 2023, to seek termination of the CCAA proceedings and the discharge of

 A&M Canada as monitor. Thereafter, it is anticipated that BBB Canada will enter Canadian

 bankruptcy proceedings to complete its wind-down.

                  (c)         In December 2022, A&M’s affiliate, Alvarez & Marsal Transaction

 Advisory Group, LLC (“A&M TAG”) was engaged by BBBI to provide sell side due diligence

 and related support in connection with BBBI’s attempted divestiture of its buybuy Baby operations.

 Those services were completed in April 2023.

                  (d)         In 2019-2020 A&M’s affiliates, A&M TAG, Alvarez & Marsal Retail

 Performance Improvement Group, LLC and Alvarez & Marsal Corporate Performance

 Improvement Group, LLC, were engaged by BBBI to provide performance improvement,

 transformation and optimization consulting services, including advising on supply chain strategy,

 evaluating certain BBBI accounting processes and assisting with implementation of recommended

 improvements. Those services were completed in 2020.

                  (e)         A&M TAG was also engaged by BBBI in September 2019, to provide sell-

 side due diligence services to BBBI related to various potential carve-out strategies. Those

 services were completed in March 2021.

                  (f)         Sue Gove is related to a Managing Director and Division Leader at an A&M

 affiliate and she was also engaged by this affiliate as an independent contractor in 2006 and again

 through Excelsior Advisors LLC (a company that she controls) in 2017 to provide services to

 A&M and its affiliates on matters wholly unrelated to the Debtors’ chapter 11 cases.


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                  (g)         The Debtors were listed as customers in Hollander Sleep Products’ chapter

 11 bankruptcy cases. A&M was the financial advisor to the unsecured creditors’ committee. That

 matter is now complete.

                  (h)         The Debtors were listed as customers and litigation parties in Libbey Glass

 and its U.S. subsidiaries’ chapter 11 bankruptcy cases. A&M was the Financial Advisor to Libbey

 Glass in those cases (11 of the 12 cases were closed by final decree on December 29, 2020) and

 has continued to provide services related to claims administration in the remaining open case

 LGA3 Corp. (f/k/a Libbey Glass Inc.). Those services do not include claims made by the Debtors.

                  (i)         The Debtors were listed as landlords in Toys”R”US’s chapter 11

 bankruptcy cases. A&M was the financial advisor in those cases which are now complete.

                  9.          A&M has provided and reasonably expects to continue to provide services

 unrelated to the Debtors’ cases for the various entities shown on Exhibit 2. Except as otherwise

 described herein, A&M’s assistance to these parties has been, and will be, related to providing

 various business advisory, performance improvement, financial restructuring, interim

 management, litigation support, investigatory or other consulting services in matters unrelated to

 the Debtors’ Chapter 11 cases. To the best of my knowledge, no services adverse to the rights of

 the Committee have been provided to these parties in interest, nor does A&M’s involvement in

 these cases compromise its ability to continue such consulting services.

                  10.         Further, as part of its diverse practice, A&M appears in numerous cases,

 proceedings and transactions that involve many different professionals, including attorneys,

 accountants and financial consultants, who may represent claimants and parties-in-interest in the

 Debtors’ cases. Also, A&M has performed in the past, and may perform in the future, advisory

 services for various attorneys and law firms, and has been represented by several attorneys, law


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 firms and financial institutions, some of whom may be involved in these proceedings. In addition,

 A&M has in the past, currently is, and will likely in the future be working with or against other

 professionals involved in these cases in matters unrelated to the Debtors’ Chapter 11 cases. Based

 on our current knowledge of the professionals involved, and to the best of my knowledge, none of

 these relationships create any interest materially adverse to the Committee herein in matters upon

 which A&M is to be employed, and none are in connection with these cases.

                  11.         A&M is not believed to be a “Creditor” with respect to fees and expenses

 of any of the Debtors within the meaning of Section 101(10) of the Bankruptcy Code. Further,

 neither I nor any other member of the A&M engagement team serving this Committee, to the best

 of my knowledge, is a holder of any outstanding debt instruments or shares of the Debtors’ stock.

                  12.         To the best of my knowledge, A&M does not have any connection with: (i)

 the employees within the U.S. Trustee’s office in this District; (ii) the District of New Jersey

 Bankruptcy Judges – Newark; or (iii) the District of New Jersey Judges – Newark.

                  13.         To the best of my knowledge, A&M does not represent any other entity

 having an interest adverse to the Committee in connection with this case, and therefore believes it

 is eligible to represent the Committee under section 1103(b) of the Bankruptcy Code.

                  14.         Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the

 foregoing is true and correct to the best of my knowledge.



 Dated: June 8, 2023
        New York, NY
                                                         /s/ Mark Greenberg

                                                        Mark Greenberg
                                                        Managing Director



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                                              Exhibit 1
                                     Potential Parties in Interest


 Bondholder                                            Goldman Sachs Asset Management, L.P.
 BlackRock Advisors, LLC                               (U.S.)
 Western Asset Management Company, LLC                 Asset Allocation & Management Company,
 CIGNA Investments, Inc.                               LLC
 CastleKnight Management, L.P.                         BlueCrest Capital Management (U.K.), LLP
 Van Eck Associates Corporation                        Franklin Advisers, Inc.
 BNP Paribas Securities Corporation                    New Jersey Division of Investment
 Morgan Stanley & Company, LLC                         Squarepoint OPS, LLC
 Mellon Investments Corporation                        Russell Investment Management, LLC
 HSBC Bank PLC                                         Carillon Tower Advisers, Inc.
 J.P. Morgan Investment Management, Inc.               Napier Park Global Capital (US), L.P.
 Hotchkis and Wiley Capital Management,                Aviary Capital Enterprises, Inc.
 LLC                                                   Barclays Capital, Inc.
 Seix Investment Advisors, LLC                         AQS Asset Management, LLC
 California Public Employees Retirement                Mirabaud Asset Management, LTD
 System                                                Oppenheimer Asset Management Inc.
 1832 Asset Management, L.P.                           Healthcare of Ontario Pension Plan
 APG Asset Management US, Inc.                         Pension Reserves Investment Management
 Tennessee Farmers Mutual Insurance Co.                Board (PRIM)
 Miller Value Partners, LLC                            Zest S.A.
 Northwestern Mutual Investment                        State Street Global Advisors (SSgA)
 Management Company, LLC                               Muzinich & Company, Inc.
 Bank of America Merrill Lynch Proprietary             Nykredit Bank A/S
 Trading                                               Northern Trust Global Investments, LTD
 GSO Capital Partners L.P.                             Banco de Sabadell, S.A
 Verition Fund Management, LLC                         Catholic Family Fraternal Of Texas
 CTC Alternative Strategies, LTD                       Croatian Fraternal Union of America
 Invesco Capital Management, LLC                       PNC Bank, N.A.
 Cable Car Capital, LLC                                Manhattan Life Insurance
 Highbridge Capital Management, LLC                    Flow Traders U.S., LLC
 Marathon Asset Management, LTD                        KSKJ Life American Slovenian Catholic
 Deutsche Bank Securities, Inc.                        Union
 BNP Paribas Asset Management France                   Aristotle Capital Management, LLC
 Canal Insurance Company                               CapitalatWork - Foyer Group (Belgium)
 Manning & Napier Advisors, LLC                        International City Management Association
 SMH Capital Advisors, LLC                             Retirement Corporation
 PGIM, Inc.                                            GIA Partners, LLC
 LM Capital Group, LLC                                 Selected Funeral and Life Insurance
 Altrius Capital Management, Inc.                      Company
 Blackstone Liquid Credit Strategies, LLC              Bivium Capital Partners, LLC
 Ameritas Life Insurance Corp. of New York             Lawson Kroeker Investment Management,
                                                       Inc.
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 Murchinson, L.P.                                    Bed Bath & Beyond of California Limited
 Safeway Insurance Group                             Liability Company
 Diamond Insurance Group, LTD                        bed 'n bath Stores Inc.
 TOBAM                                               Buy Buy Baby, Inc.
 SumRidge Partners, LLC                              BWAO LLC
 Lombard Odier Asset Management Europe,              Chef C Holdings LLC
 LTD                                                 Decorist, LLC
 New York City Comptroller's Office                  Harmon Stores, Inc.
 Foxhill Capital Partners, LLC                       Liberty Procurement Co. Inc.
 UBS Securities, LLC                                 San Antonio Bed Bath & Beyond Inc.
 Chartwell Investment Partners, LLC                  Bed Bath & Beyond of Annapolis, Inc.
 PFA Asset Management A/S                            Bed Bath & Beyond of Baton Rouge Inc.
 Pharus Management S.A.                              Bed Bath & Beyond of Bridgewater Inc.
 Safra Securities, LLC                               Bed Bath & Beyond of East Hanover Inc.
 Shlomo Holdings, LTD                                Bed Bath & Beyond of Falls Church, Inc.
 Citigroup Global Markets, Inc.                      Bed Bath & Beyond of Frederick, Inc.
 J.P. Morgan Securities, LLC                         Bed Bath & Beyond of Gallery Place L.L.C.
 Virtus Investment Advisers, Inc.                    Bed Bath & Beyond of Lexington Inc.
 FBL Investment Management Services, Inc.            Bed Bath & Beyond of Louisville Inc.
 BVK- Beamtenversicherungskasse des                  Bed Bath & Beyond of Norman Inc.
 Kantons Zurich                                      Bed Bath & Beyond of Overland Park Inc.
 Chicago Capital, LLC                                Bed Bath & Beyond of Paradise Valley Inc.
 Finlabo SIM S.p.A.                                  Bed Bath & Beyond of Portland Inc.
 Mont Blanc Capital Management AG                    Bed Bath & Beyond of St. Louis Inc.
 USA Life One Insurance Company of                   Bed Bath & Beyond of Virginia Beach Inc.
 Indiana                                             Bed Bath & Beyond of Woodbridge Inc.
 Invesco Advisers, Inc.                              Deerbrook Bed Bath & Beyond Inc.
 SG Americas Securities, LLC                         Alamo Bed Bath & Beyond Inc.
 AllianceBernstein, L.P. (U.S.)                      Bed Bath & Beyond of Arundel Inc.
 BondBloxx Investment Management                     Bed Bath & Beyond of Birmingham Inc.
 Corporation                                         Bed Bath & Beyond of Davenport Inc.
 Fidelity Management & Research Company,             Bed Bath & Beyond of Edgewater Inc.
 LLC                                                 Bed Bath & Beyond of Fashion Center, Inc.
 MacKay Shields, LLC                                 Bed Bath & Beyond of Gaithersburg Inc.
 Alta Capital Management, LLC                        Bed Bath & Beyond of Knoxville Inc.
 DBX Advisors, LLC                                   Bed Bath & Beyond of Lincoln Park Inc.
 Millenium Advisors, LLC                             Bed Bath & Beyond of Mandeville Inc.
                                                     Bed Bath & Beyond of Opry Inc.
 Debtor                                              Bed Bath & Beyond of Palm Desert Inc.
 Bed Bath & Beyond Inc.                              Bed Bath & Beyond of Pittsford Inc.
 BBB Canada LP Inc.                                  Bed Bath & Beyond of Rockford Inc.
 BBB Value Services Inc.                             Bed Bath & Beyond of Towson Inc.
 BBBY Management Corporation                         Bed Bath & Beyond of Waldorf Inc.
 BBBYCF LLC                                          Bed Bath & Beyond of Manhattan, Inc.
 BBBYTF LLC                                          Springfield Buy Buy Baby, Inc.
                                                     Buy Buy Baby of Totowa, Inc.

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 Buy Buy Baby of Rockville, Inc.                     UBS
 Of a Kind, Inc.                                     Scotia Bank
 One Kings Lane LLC
 Harmon of Caldwell, Inc.                            Director/Officer
 Harmon of Franklin, Inc.                            Mara Sirhal
 Harmon of Hackensack, Inc.                          Wade Haddad
 Harmon of Hartsdale, Inc.                           Susie Kim
 Harmon of Massapequa, Inc.                          David Kastin
 Harmon of New Rochelle, Inc.                        Toni-Anne Andrisano
 Harmon of Old Bridge, Inc.                          Sue Gove
 Harmon of Raritan, Inc.                             Greg Dyer
 Harmon of Totowa, Inc.                              Laura Crossen
 Harmon of Wayne, Inc.                               Lynda Markoe
 Harmon of Yonkers, Inc.                             Scott Lindblom
 Harmon of Brentwood, Inc.                           Bart Sichel
 Harmon of Carlstadt, Inc.                           Mark Danzig
 Harmon of Greenbrook II, Inc.                       Camille Fratanduono
 Harmon of Hanover, Inc.                             Marjorie Bowen
 Harmon of Manalapan, Inc.                           Harriet Edelman
 Harmon of Melville, Inc.                            Jeffrey Kirwan
 Harmon of Newton, Inc.                              Shelly Lombard
 Harmon of Plainview, Inc.                           Joshua Schecter
 Harmon of Rockaway, Inc.                            Minesh Shah
 Harmon of Shrewsbury, Inc.                          Andrea Weiss
 Harmon of Westfield, Inc.                           Ann Yerger
                                                     Patty Wu
 Debtor Professional                                 Jonathan Foster
 Kirkland & Ellis LLP
 AlixPartners LLP                                    Equity Shareholder
 Lazard Frères & Co. LLC                             BlackRock Inc
 A&G Realty Partners, LLC                            Vanguard Group Inc
 Cole Schotz P.C.
 Kirkland & Ellis International LLP                  Freight Provider
 Kroll Restructuring Administration LLC              Federal Express

 Depository Banks                                    Guarantor
 JPMorgan                                            Bed Bath & Beyond Inc.
 Wells Fargo                                         BBB Canada LP Inc.
 Key Bank                                            BBB Canada Ltd.
 Fifth Third                                         BBB Value Services Inc.
 US Bank                                             BBBY Management Corporation
 Banco Popular                                       BBBYCF LLC
 First Hawaiian                                      BBBYTF LLC
 Union Bank                                          Bed Bath & Beyond Canada L.P.
 BB&T                                                Bed Bath & Beyond of California Limited
 SSB/Morgan Stanley                                  Liability Company

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 bed 'n bath Stores Inc.                             State National Insurance Company, Inc.
 Buy Buy Baby, Inc.                                  (Canopius)
 BWAO LLC                                            Continental Insurance Company (CNA)
 Chef C Holdings LLC                                 Syndicate 2623 / 623 At Lloyd's Of London
 Decorist, LLC                                       (Beazley)
 Harmon Stores, Inc.                                 Axis Surplus Insurance Company
 Liberty Procurement Co. Inc.                        Safety Specialty Insurance Company
                                                     Arch Specialty Insurance Company
 Insurance Provider                                  Starr Surplus Lines Insurance Company
 Factory Mutual Ins. Co.                             Allianz Global Risks Us Insurance
 Multiple                                            Company
 General Security Indemnity Company Of               Scottsdale Insurance Company (Nationwide)
 Arizona                                             AIG Specialty Insurance Company
 Old Republic Union Insurance Company                Allied World Specialty Insurance Company
 Mercer Insurance Company                            Berkley Assurance Company
 Underwriters At Lloyd's, London (Hiscox)            Certain Underwriters At Lloyd's - Syndicate
 Affiliated Fm Insurance Company                     1183 (Validus)
 FM Global De Mexico, S.A. De C.V.                   Liberty Surplus Insurance Corporation
 Safety National Casualty Corporation
 The Insurance Company Of The State Of               Interested Party
 Pennsylvania (AIG)                                  Ares Management
 AIG Insurance Company Of Canada                     Sycamore Partners
 Insurance Corporation Of British Columbia           Cerberus Capital Management
 (ICBC)                                              Ryan Cohen
 AIG                                                 Putman Investments
 XL Insurance America, Inc.                          Sleep Country Canada
 Navigators Insurance Company (Hartford)             Authentic Brands
 Endurance American Insurance Company                CSC Generation, Inc.
 (Sompo)                                             Interweave
 Ace Property & Casualty Insurance                   Michaels Stores, Inc.
 Company (Chubb)                                     Blue Torch Capital
 National Casualty Company (Nationwide)              Centerbridge Partners
 The Ohio Casualty Insurance Company                 Citi
 (Liberty Mutual)                                    JPM
 National Union Fire Ins. Co. Of Pittsburgh,         MidCap Financial
 Pa (AIG)                                            Silver Point Capital
 Federal Insurance Company                           SB360 Capital Partners
 National Union Fire Ins. Co. of Pittsburgh,         Hudson Bay Capital
 PA                                                  Angelo Gordon
 Hudson Insurance Company (Euclid)
 Great American Insurance Company                    Landlord
 Zurich American Insurance Company                   Ikea Property, Inc
 Arch Insurance Company                              Dadeland Station Associates
 Argonaut Insurance Company                          Elite Development Group LLC
 Berkshire Hathaway Specialty Insurance              RXR 620 Master Lessee LLC
 Company                                             270 Greenwich Street Associates LLC

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 West 64th Street LLC                                The Stop & Shop Supermarket Company
 W.B.P. Central Associates, LLC                      LLC
 KRG New Hill Place, LLC                             FR Assembly Square, LLC (180-1008)
 LG-BBB, LLC                                         Watchung Square Associates, LLC
 Totowa UE LLC                                       Ramsey Interstate Center LLC
 Federal Realty Investment Trust                     JLP-Novi LLC
 Gateway Fairview, Inc.                              MFS Eastgate-I, LLC
 Brixton Beaumont, LLC                               JG ELIZABETH II, LLC
 DC USA Operating Co., LLC                           VF Center Associates, L.P.
 Ogden CAP Properties                                IRC Retail Centers
 LPC Retail Accounting                               MLO Great South Bay LLC
 Congressional North Associates Limited              Poughkeepsie Plaza Mall, LLC
 Partnership                                         North Village Associates
 Belz Investco, GP                                   293-305 Route 22 East, LLC
 RPT Realty L.P.                                     PL DULLES LLC
 Tyler Broadway/Centennial, LP                       Eager Road Associates West, LLC
 200-220 West 26 LLC                                 Newburgh Mall Ventures LLC
 1019 Central Avenue Corporation                     Cherry Hill Retail Partners LLC
 KRG Plaza Green LLC                                 KRG Miami 19th Street II, LLC
 KRG Livingston Center LLC                           Herricks Mineola, LLC
 Section 14 Development Co.                          Federated Associates
 Schnitzer Stephanie, LLC                            3600 Long Beach Road, LLC
 Brixmor GA Westminster LLC                          Daly City Partners I, L.P.
 IRC University Crossings, L.L.C.                    Federal Realty Investment Trust Property
 SF WH Property Owner LLC                            #1217
 Downey Landing SPE, LLC                             Center Developments Oreg., LLC
 Oak Street Investment Grade Net Lease               G&I IX Kildeer LLC
 Fund Series 2021-1, LLC                             DDRA Tanasbourne Town Center, LLC
 Beatty Limited Partnership                          Sigfeld Realty Marketplace, LLC
 Jeffrey Management Corp                             81 Associates, LLC
 R&F Garden City, LLC                                Edison EHNJ001 LLC
 Route 206 Northbound LLC                            DDRTC Village Crossing LLC
 Crocker Park Phase III, LLC                         Savi Ranch Group, LLC
 Encinitas Town Center Associates I, LLC             Orchard Hill Park
 Wutsboro Associates, LLC                            Roxville Associates
 Ramco-Gershenson Properties, L.P.                   Edison DENJ001 LLC
 UE 675 Route 1 LLC                                  JLP-Harvard Park LLC
 Closter Marketplace (EBA), LLC                      The Strip Delaware LLC
 Super, LLC                                          Meridian Mall Limited Partnership
 Brentwood Plaza LLC                                 Farley Realty Associates
 Daly City Serramonte Center, LLC                    Brixmor Hale Road LLC
 Morris Plains Holding UE LLC                        MSS Millburn Realty Co.
 Enid Two, LLC                                       North Attleboro Marketplace II LLC
 Urstadt Biddle Properties                           SDC/Pacific/Youngman-Santa Ana
 675 AOA Owner LLC                                   MP Northglenn LLC
 RK Coral Palm Plaza, LLC                            Germantown E&A , LLC

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 KDMM LLC and ABAH LLC                               Pavilions at Hartman Heritage, LLC
 DDR Guilford LLC                                    Mission Viejo Freeway Center
 Rancho Texarkana Investors, LLC                     BG Monmouth, LLC
 Ridge Park Square, LLC                              Promenade Delaware, LLC
 SLO Promenade DE LLC                                M&J Big Waterfront Market, LLC
 V&V Stores, Inc.                                    Rainbow Arroyos Commons, LLC
 Highland Commons Assoc., LLC                        Rolling Hills Plaza LLC
 Mansell Crossing Retail LP                          Simsbury Commons LLC
 Mad River Development LLC                           Northington Mechanicsburg Investors, LLC
 Rosemont 2019, LLC                                  DDR Creekside LP
 Ruscio Management LLC                               Seritage SRC Finance LLC
 RPT Realty, L.P.                                    Federal Realty Partners LP
 BIT Holdings Sixty-Three, Inc.                      Jefferson Pointe SPE, LLC
 Talisman Towson Limited Partnership                 Christiana Town Center , LLC
 Main Street At Exton LP                             Concord Investment CO
 Greenwich Place Partners, LLC                       Pappas Laguna LP
 Barrywoods Holdings, LLC                            Ranch Town Center, LLC
 BVA Woodhill LLC                                    Jaydor Bleeker Realty Sub II
 Garfield-Southcenter LLC                            Northway Mall Properties, LLC
 New Plan of West Ridge, LLC                         College Plaza Station LLC
 ROIC California, LLC                                Newmarket Square, Ltd.
 AGC Pacific Coast Plaza, LLC                        Columbus Town Center II, L.L.C.
 IVT Parke Cedar Park LLC                            CFH REALTY III/ SUNSET VALLEY,
 Mad River Development LLC                           L.P.
 Spring Ridge, LP                                    Wallace Real Estate Co.
 Lane Avenue 450 LLC                                 W.B.P. CENTRAL ASSOCIATES, LLC
 Agree Grand Chute WI LLC                            KMO-361 (Paramus) LLC
 Columbiana Station E&A , LLC                        JLP Kentwood
 Dewcom, LLC                                         Hamilton TC, LLC
 THF Shawnee Station LLC                             CR Oakland Square, LLC
 Commons at Issaquah, Inc.                           36 Monmouth Plaza LLC
 Candlewood Lake Road, LLC                           Rainier Summit Woods Acquisitions, LLC
 Columbia Square Kennewick, LLC                      Valley and Plainfield Associates, L.P.
 Capstone Marketplace LLC                            THF Harrisonburg Crossings, LLC
 Edison NNVA001 LLC                                  ARC CLORLFL001, LLC
 Mississippi ADP, LLC                                271 South Broadway LLC
 Silvertown Inc.                                     Studio City East 93K, LLC
 CTC Phase II, LLC                                   MCV23 LLC
 Paramount JSM At Jenkintown, LLC                    Ronald Benderson 1995 Trust
 Alexander's Rego Shopping Center, Inc.              M.O.R. Snowden Square Limited
 Joule Las Palmas Owner, LLC                         Partnership
 Palouse Mall LLC                                    Dollinger-Westlake Associates
 W/S Hadley Properties II LLC                        Edgewood Retail LLC
 Sunset & Vine Apartment                             North Park Crossing, LC
 Edison BRMA001 LLC                                  Finmarc Wildewood LLC
 Newtown Bucks Associates, LP                        Gainesville Associates

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 Grandbridge Real Estate Capital LLC                 CP Venture Five-AV LLC
 WMG Meadows, LLC                                    SVAP II Creekwalk Village, LLC
 DDR Carolina Pavilion LP                            Jemal's Boulevard L.L.C.
 ARC CLORLFL001, LLC-Lockbox                         AE Holdings I, LLC
 CSM West Ridge Inc                                  WRI/Raleigh, LP
 Midstate Owner LLC                                  KRG Market Street Village, L.P.
 Bristol-Warner Investors, LLC                       Federal Realty - Barracks Rd (500-2070)
 USPP Fischer Market Place, LLC                      East Chase Properties, LLC
 Sunnybrook Partners, L.L.C.                         Federal Realty - Gratiot S.C. (500-1220)
 Chandler Village Center, LLC                        Willowbrook Town Center LLC
 Premier Centre, LLC                                 Pleasant Hill Crescent Drive Investors LLC
 Delta & Delta Realty Trust                          Duluth (Gwinnett) SSR, LLC
 Brixmor GA Fashion Corner, LLC                      DDR CAROLINA PAVILION LP
 Hingham Launch Property LLC                         Meridian Kellogg LLC
 SanTan MP LP                                        GG Midlothian TC, LLC
 Charter Warwick, LLC                                Town Pointe Associates
 Rosedale Commons LP                                 Oak Street Investment Grade Net Lease
 Shreve Center DE L.L.C                              Fund Series 2021-1, LLC
 The Crossing at 288 Phase 2, Ltd.                   WRI-URS South Hill, LLC
 National Retail Properties, LP                      Valley Hills Mall LLC
 Brookwood Capital Partners LLC                      Inland Commercial Real Estate Services
 Sanzari 89 Associates LP                            LLC
 Riverview Plaza (E&A), LLC                          Wood Stone Plano Partners LLC
 Jubilee - Cranberry Equity, LLC                     EIG Wanamaker, LLC
 Metropolitan Life Insurance Company                 CMR Limited Partnership
 Hamilton Properties                                 Crossroads Canada, LLC
 Equity One (Florida Portfolio) LLC                  NPMC Retail, LLC
 ARG TTRALNC001, LLC                                 Weingarten Realty Investors - Co. 001
 TKG - Manchester Highlands Shopping                 BVC Oakwood Commons Inc.
 Center , LLC                                        Spirit VC Victoria TX LLC
 DFG-BBB Monroe, LLC                                 ORF V Sugar Creek Plaza, LLC
 Water Tower Square Associates                       I-Southport LLC
 Ramco-Gershenson Properties L.P.                     Edison BRMA002 LLC
 Lindale Holdings LLC and Lindale                    Decatur Realty LLC
 Holdings II LLC                                     Skyway Regional Shopping Center L.L.C
 Davenport CRG LLC                                   Regency Centers LP
 Jubilee LP                                          SREIT Palm Beach Lakes Blvd., L.L.C.
 Scottsdale Fiesta Retail Center, LLC                Castle Ridge Associates
 The Centre at Deane Hill LLC                        Dillon Ridge Marketplace III LLC
 Five Points Revocable Trust                         12535 SE 82nd Ave LLC
 Middletown Shopping Center I, LP                    Regency Centers, L.P.
 IRC Retail Centers                                  Frontier Plaza, LLC
 Weingarten Nostat Inc.                              Rainier Colony Place Acquisitions LLC
 The Grewe Limited Partnership                       TFP Limited Real Estate Development
 JDN Real Estate Hamilton, LP                        Hitchcock Plaza, LLC
 SRK Lady Lake 21 SPE, LLC                           DS Properties 18 LP

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 Federal Realty Investment Trust Property            RREEF America REIT II Corp. MM
 #1180                                               31535 Southfield Road LLC
 UE 675 Route 1 LLC                                  Alpine Cherry Creek LLC
 Canton Corners Ford Road LLC                        Hanes M. Owner, LLC
 GLP Flint LLC                                       W/S Brunswick Properties II LLC
 MDC Coastal I, LLC                                  Truss Realty Co.
 UE 675 Paterson Avenue LLC                          Seaview Acquisition LLC
 Simon Property Group LP                             The Shoppes At Hamilton Place CMBS
 Paramount Plaza at Brick LLC                        LLC
 DDRTC Marketplace at Mill Creek LLC                 S & E Realty Company, Inc
 IRC Retail Centers                                  National Retail Properties, LP
 ROIC California, LLC                                Benchmark-Clarence Associates, LLC
 Crestview Hills Town Center LLC                     KRG Southlake, LLC
 ARG SPSPRIL001, LLC                                 Vestar Best In The West Property LLC
 ORF VII Felch Street, LLC                           RAF Johnson City LLC
 Tamarack Village Shopping Center, LP                Serota Islip NC, LLC
 SIPOC, LLC                                          A & W Acquisitions, LLC
 BVA Towne Square LLC                                Springfield Plaza, LLC
 BRE DDR IVA Southmont PA LLC                        Pavilions at Hartman Heritage, LLC
 PP-Gaston Mall L.L.C.                               Realty Income Properties 27, LLC
 McKinley Mall Realty Holding, LLC                   Whitemak Associates
 Sycamore Browns Valley, LLC                         Oakland Iron Works Associates
 Grove Court Shopping Center LLC                     South Frisco Village SC, L.P.
 Grand Mesa Center LLC                               MCS-LANCASTER DE HOLDING, LP
 HRTC I LLC                                          First Real Estate Investment Trust of NJ
 Rancho Dowlen, LLC                                  Levin Management Corporation
 RPAI King's Grant II Limited Partnership            ARG PSALBNM001, LLC
 Casto-Oakbridge Venture Ltd                         EREP Broadway Commons I, LLC
 168th and Dodge, LP                                 AK-SAR-BEN Village LLC
 Houma LA LLC                                        KRG Southlake, LLC
 International Speedway Square, LTD.                 Governors SPV LLC
 NPP Development, LLC                                PGS Burlington and Tower Burlington, LLC
 Old Bridge Market Place II, LLC                     Dothan Pavilion Group, LLC
 CR Hagerstown, LLC                                  Mountain Grove Partners, LLC
 Brixmor/IA Delco Plaza, LLC                         GGCal, LLC
 ARC SMWMBFL001, LLC                                 Mishorim Gold Properties, LP
 IA Matthews Sycamore, L.L.C.                        28th Street Management Company, LLC
 Oak Street Investment Grade Net Lease               Fidelity Totowa Associates LLC
 Fund Series 2021-2 LLC                              BRE/Pearlridge LLC
 Brixmor Holdings 6 SPE, LLC                         HGREIT Edmondson Road LLC
 Sunmark Property, LLC                               DDR Southeast Snellville, LLC
 Canton Marketplace Owner LLC                        BRE DDR Flatacres Marketplace LLC
 North Massepequa, LLC                               CT Center S.C., LP
 ARG SSSTRPA001, LLC                                 Agree 1031, LLC
 Broadway Belvedere LLC                              RAF Jackson LLC
 CW Northridge Plaza LLC

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 TKG Paxton Towne Center Development,                   Brixmor GA Springdale/Mobile Limited
 LP                                                     Partnership
 CPT Arlington Highlands 1, LP                          B33 Maple Grove II LLC
 Whitemak Associates & PREIT                            Arrowhead Palms, L.L.C.
 Northgate Mall Partnership                             Paterson Place Durham, LLC
 Brixmor Holdings 6 SPE, LLC                            TKG Biscayne, LLC
 Chico Crossroads, LP                                   Crosswinds St. Pete, LLC
 Golden Isles Plaza, LLC                                Easton Market Limited Liability Company
 CR Mount Pleasant LLC                                  RK Pembroke Pines, LLC
 Epps Bridge Centre Property Company,                   OLIVET KOM LLC
 LLC                                                    Lilac19 LP
 R.K. Middletown, LLC                                   RPT Realty L.P.
 SBLO Barrett Pavilion, LLC                             Livesey East LLC
 Village Developers                                     AVR CPC Associates, LLC
 Conroe Marketplace S.C, L.P.                           Brixton Rogue, LLC
 W-ADP Harvest Junction OP Owner VIII                   BV Southwind, LLC
 L.L.C.                                                 THF/MRP Tiger Town, LLC
 IA Sarasota Tamiami, L.L.C.                            Bradenton I, LLC
 DRP Tulsa Hills Property Owner, LLC                    Shrewsbury Commons
 R.E.D. Capital Management, L.L.C.                      Medistar Parkwest JV, Ltd.
 UH US Lynncroft 2019 LLC                               ACS Fort Smith Pavilion AR, LLC
 DPEG Fountains, LP                                     RPT Realty, L.P.
 BREIT Bingo Holdings LLC                               Stram Associates
 ARG FSBROWI001, LLC                                    The Shops of Tupelo LLC
 UE 675 Route 1 LLC                                     Fairview Shopping Center, LLC
 V & V 224 Limited                                      Inland National Real Estate Services LLC
 Evergreen -1-10 & Ray, L.L.C.                          Bldg 7503
 Pioneer Hills SPE, LLC                                 Allan A. & Beverly M. Sebanc
 Oaks Square Joint Venture                              Bayer Development Company, L.L.C.
 GRE Altamonte LP                                       National Retail Properties, LP
 Mission Valley Shoppingtown, LLC                       Almaden Plaza Shopping Center Inc.
 Town & Country (CA) Station L.P.                       La Frontera Improvements, LLC
 Mall at Potomac Mills, LLC                             KRG Temecula Commons, LLC
 Valley Square I, L.P.                                  Oak Street Investment Grade Net Lease
 RAF Lake Charles LLC                                   Fund Series 2021-2 LLC
 Governors Square Plaza                                 Bowles Village Center LLC
 Chase Green Mountain L.P.                              Parkway Crossing East Shopping Center LP
 Columbia Tech Center, LLC                              Park West Village Phase I LLC
 Donahue Schriber Realty Group, L.P.                    KSI Cary 483 LLC
 Congressional Plaza Associates LLC                     209-261 Junction Road Madison Investors
 Chandler Festival SPE LLC                              LLC
 EIG Grand Island, LLC                                  The Promenade D Iberville, LLC
 Delco LLC                                              Ireland Davie, Ltd.
 MGP IX Properties, LLC                                 KRG Cool Springs, LLC
 T L Street Marketplace NE, LLC                         Arapahoe Crossings, L.P.
                                                        DJD Partners 10, LLC

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 A-S 156 HQSC, L.P.                                     RPT Realty, L.P.
 DeRito/Kimco Riverview, LLC                            Pittsburgh Hilton Head Associates
 Capital Mall Land LLC                                  Santa Rosa Town Center
 Weatherford Dunhill LLC                                Dollinger-Ventura Associates
 Jim R. Smith                                           Greendale 14, LLC
 2200 Lohman Ave. LLC                                   NP Royal Ridge LLC
 G&I VII Carriage Crossing LLC                          Cole San Marcos TX, LLC
 Riverchase Crossings, LLC                              Sunbury Gardens Realty Co.
 Amherst Crossing AMA Realty Ventures,                  AE Holdings I, LLC
 LLC                                                    13555 TTN, LLC
 KRG Shops at Moore LLC                                 The Commons at Sugarhouse, LC
 Ramco-Gershenson Properties                            DPEG Fountains, LP
 ISM Holdings Inc.                                      UG2 Solon OH, LP
 Santa Fe Mall Property Owner LLC                       Hastings Village Investment Company, LP
 Whitestone Eldorado Plaza, LLC                         Oak Leaf Property Management LLC
 GRE Broadmoor, LLC                                     Loja WTP, LLC
 Redfield Promenade, L.P.,                              ARG CCALBNMOO1, LLC
 Jess Ranch Brea Retail XVI, LLC                        ARC TCMESTX001, LLC
 CAL Development, LLC                                   BRE DDR Lake Brandon Village LLC
 CD 2007-CD5 ED NOBLE PARKWAY,                          FR Camelback Colonnade, LLC
 LLC                                                    Greenwich Place Partners, LLC
 Holmdel GT, LP & GBR Holmdel Plaza,                    CAL Development, LLC
 LLC                                                    ORF V Sugar Creek Plaza, LLC
 Riviera Center Properties HITF The Dong                DDR Winter Garden LLC
 Koo Kim and Jong OK Kim Family Trust                   Sir Barton Place, LLC
 PMH Properties, LLC                                    0509 CC Ocala Joint Venture
 Taft Corners Associates                                SRL Crossings at Taylor LLC
 SM Eastland Mall, LLC                                  ARC BHTVCMI001, LLC
 Mishorim Gold Houston, LLC                             SPG Doral Retail Partners, LLC
 MDC Coastal I, LLC                                     KRG Rivers Edge, LLC
 Price/Baybrook LTD                                     Mishorim Gold Houston, LLC
 HLT Partnership, L.P.                                  Price/Baybrook Ltd.
 Chenal Place Properties LLC                            Flagler S.C., LLC
 HART TC I-III, LLC                                     Anna Mscisz Trust
 Southridge Plaza, LLC                                  BVA Deerbrook SPE LLC
 Pinnacle North II, LLC                                 ACS Town Square Shopping Center IN,
 TPP 207 Brookhill LLC                                  LLC
 Surprise Marketplace Holdings, LLC                     Riverdale Cener North, LLC
 Shelby Corners RE Holdings, LLC                        KRG McDonough Henry Town, LLC
 Denver West Village LP                                 TKG Monroe Louisiana 2, LLC
 PTC TX Holdings, LLC                                   Sir Barton Place, LLC
 Eastridge Mall Realty Holding LLC                      Demoulas Super Markets Inc.
 Redlands Joint Venture, LLC                            Aberdeen Commons Associates, LLC
 KRG Avondale McDowell, LLC                             Overton Park Plaza Associates, LLC
 Inland Commercial Real Estate Services                 University of Louisville Real Estate
 LLC                                                    FoundationInc

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 Oak Street Investment Grade Net Lease                  Prescott Gateway Mall Realty Holding, LLC
 Fund Series 2021-1, LLC                                CPC Gateway Plaza, LLC
 MGP XII Magnolia, LLC                                  Durango Mall LLC
 BBP Partners, LLC                                      The Shops at Summerlin South, LP
 Cobb Place Property, LLC                               Equity One (Florida Portfolio) LLC
 Forum Lone Star, L.P.                                  GKT Shoppes At Legacy Park, L.L.C.
 US 41 AND I-285 Company LLC                            ALTO Northpoint LP
 Saul Holdings Limited Partnership                      AJG Enterprises, LLC
 Forest Plaza, LLC                                      BIT Investment Twenty Seven, LLC
 Ramco-Gershenson Properties LP                         ZP No. 171, LLC
 SHI Owner LLC                                          Brixmor GA Cobblestone Village At St.
 GM Realty of Bangor, LLC                               Augustine LL
 The Centre at Deane Hill, GP                           0534 Pensacola Cordova Land, LLC
 Bayshore Mall Partners                                 Tyler Broadway/Centennial, LP
 HART Miracle Marketplace                               Richards Clearview, LLC
 Northwoods III (San Antonio), LLC                      FW Ridge Rock, Ltd
 Oracle Plaza, LLC                                      Bell Tower Shops, LLC
 River Park Properties II                               Waldorf Shopper's World
 Downtown Summerlin                                     Dorcich-Vidovich
 Ridgeport Limited Partnership                          IVT Highlands at Flower Mound, LP
 SEP Augusta, LLC                                       BV Waco Central Texas Marketplace, LLC
 BVCV Union Plaza LLC                                   CSHV WoodlandsII, LP
 Coastal Grand CMBS LLC                                 ARG SAABITX001, LLC
 Rushmore Crossing Associates, LLC                      TKG Woodmen Commons, L.L.C.
 Spring Creek Improvements, LLC                         Franklin Park SC LLC
 South Town Owner PR, LLC                               ORF VII Pelican Place, LLC
 DTS Properties LLC                                     Rehoboth Gateway, LLC
 Petoskey Mall Associates LLC                           Rockwall Crossing Ltd
 KRG Sunland LP                                         Pivotal 650 California St., LLC
 Heritage Plaza, LLC                                    Brown Ranch Properties LP
 IRC Retail Centers                                     RPAI San Antonio Huebner Oaks GP L.L.C.
 ARC PCBIRAL001, LLC                                    Rogers Retail, LLC
 ARC ASANDSC001, LLC                                    ARG PSALBNM001, LLC
 Medistar Parkwest JV, Ltd.                             IMI Huntsville, LLC
 KIR Tukwila L.P.                                       KBC Properties
 Maverick Investors LLC                                 Running Hill SP, LLC
 Seritage SRC Finance LLC                                A-S 149 Island Gate Plaza, L.P.
 Caruth Acquisition LP                                  BVCV Union Plaza LLC
 Empire East , LLC                                      WRI Mueller LLC
 Panama City Beach Venture II, LLC                      W.R. Partners, LLC
 KRG Plaza Green, LLC                                   MARKETPLACE WEST PARTNERS,
 Thoroughbred Village LLC                               LLC
 McAllen TX LLC                                         SOUTHAVEN TOWNE CENTER II, LLC
 Kimco Savannah 185, Inc                                GC Ambassador Courtyard, LLC
 CAC Atlantic LLC                                       MS Flowood, LP
 Northeast Holdings LLC                                 Dreamland of Asheville Associates, L.L.C.

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 Mooresville Crossing, LP                               Heritage House South LLC
 WCK, LC                                                RPAI Lakewood, LLC
 Southgate Mall Montana II LLC                          Santee Trolley Square 991, LP
 Lakeline Plaza, LLC                                    PAPF Redding, LLC
 BVA Deerbrook SPE LLC                                  Weingarten Nostat, Inc
 Agree Limited Partnership                              La Habra Westridge Partners, L.P.
 ITAC 192, LLC                                          Trahwen, LLC
 WM Acquisition Delaware LLC                            Parkmall, LLC
 Windsor Park Estates Silverdale, LLC                   Macerich Lakewood LP
 DT University Centre LP                                Marin Country Mart, LLC
 TJ Center LLC                                          Premium Properties, L.L.C.
 HCL Texas Avenue LLC                                   Manalapan UE, LLC
 PT-USRIF Meridian, LLC                                 Asbury Shops, LLC
 IA LaQuinta Pavilion, L.L.C.                           Golden Spectrum Property
 TKG Mountain View Plaza, L.L.C.                        University Mall Realty LLC
 Glacier 400 Wilbur LLC                                 Champlain Center South Assoc., LLC
 CFH Realty III/Sunset Valley, L.P.                     U.S. REIF Joliet SC Fee, LLC
 RPI Interests II, Ltd.                                 Airport Plaza, LLC
 Telegraph Marketplace Partners II LLC                  GG REIF I GATEWAY LLC
 BVA Avenue LLC                                         ARC PRLAWKS001, LLC
 ARC CPFAYNC001, LLC                                    St. Cloud Rainbow Village, LLC
 Siegen Lane Properties LLC                             Bridgewater Falls Station LLC
 KIR Soncy L.P.                                         MM/PG (Bayfair) Properties LLC
 Creekstone Juban I, LLC                                The Stop & Shop Supermarket Company
 G&I IX Primrose Marketplace LLC                        LLC
 CR West Ashley, LLC                                    Green Ridge Holdings LLC
 UB Stamford LP                                         Onni Burbank Town Center, LLC
 KMO-361 (Paramus) LLC                                  TCSC, LLC
 Sunrise Mills (MLP), LP                                RCG-Sparks, LLC
 Mall at Gurnee Mills LLC                               E & A Northeast Limited Parnership
 ARG BBSCHIL001, LLC                                    Quail Creek Crossing, Ltd
 RPT Realty, L.P.                                       6034 Azle Avenue, LLC
 Glimcher SuperMall Venture, LLC                        Central Mall Port Arthur Realty Holding,
 Northville Retail Center Joint Venture,                LLC
 L.L.C.                                                 Stone Creek Retail, LLC
 Arboretum Retail, LLC                                  Granite Park Retail, LLC
 Federal Realty Investment Trust                        SP Bossier, L.L.C.
 Presidential Markets                                   PMAT Waterside, L.L.C.
 Pace - 64 Associates, L.L.C.                           Tucson Shopping Center, LLC
 OLP Champaign, Inc.                                    DDR Hendon Nassau Park II LP
 DDR Del Sol LLC, S.E.                                  WF Kingsbury Center LLC
 Pearland RJR, LLC                                      Uptown Group, LLC
 Regency Centers, L.P.                                  Rockaway Town Court LLC
 B33 Erie Marketplace II LLC                            Perrysburg Enterprise, LLC
 Lynchburg (Wards Crossing), LLC                        Pacific Coast Highway Property, LLC
 Middletown I Resources LP

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 BCB Group Investements Tramonto                        Manhattan Marketplace Shopping Center
 Marketplace LLC                                        LLC
 Imperial Legacy Enterprises, LLC                       DRP Market Heights Property Owner, LLC
 Crystall Mall, LLC                                     QCM Partners, LLC
 IRC Retail Centers                                     Ravid Lake St. Louis II LLC
 KRG Leesburg Fort Evans, LLC                           Alexandria Main Mall LLC
 WRG Homestead, LLC                                     Coral Sky Retail LLC
 Pontiac Mall Limited Partnership                       Dickman & Chernotsky
 Sandusky Pavilion                                       Basser-Kaufman Real Estate
 DDRM Shoppes of Ellenwood LLC                          KFT Enterprises No. 2 LP
 Valencia Marketplace I, LLC                            White Goose, LLC
 Acadia Realty Limited Partnership                      VAM, Ltd.
 RPT Terra Nova Plaza LLC                               Paramount Newco Realty LLC Upland
 Almaden Plaza Shopping Center Inc.                     Brixmor Property Owner II, LLC
 Brixmor Arborland LLC                                  Central Shopping Centers CC, LLC
 NEWKOA, LLC                                            Dierbergs Osage Beach, LLC
 Lakes Mall Realty LLC                                  ARG GFBOGKY001, LLC
 Shiloh Venture, LLC                                    LTC Retail, LLC
 Brixmor SPE 1 LLC                                      Canyon Park West, LLC
 Magnolia Commons SC, LLC                               GF Valdosta Mall, LLC
 Brighton Mall Associates LP                            MFC Longview LLC
 Har-Zait, LLC                                          Pagosa Partners III, Ltd.
 Carson Valley Center LLC                               M&D Real Estate, LP
 Benderson 85-1 Trust                                   South Frisco Village SC, L.P.
 Hill Management Services, Inc.                         PAPF Dimond, LLC
 Camden Village LLC                                     101 & Scottsdale, LLC
 Sparkleberry Square                                    ABJ Group Advancement TX LLC
 Brixmor GA Delta Center (MI) LLC                       CVSC, LLC
 Keene MZL LLC                                          Revesco (USA) Properties of Bozeman, LP
 FHS Promenade, LLC                                     Caparra Center Associates, LLC
 TKG Logan Town Centre, LP                              TPP Bryant LLC
 Will-Ridge Associates, LLC                             ML-MJW Port Chester SC Owner LLC
 Partridge Equity Group I LLC                           NADG/TRC Lakepointe LP
 Marketplace At Vernon Hills, LLC                       Equity One (Florida Portfolio) LLC
 Pergament Mall of Staten Island LLC                    Benderson Properties, Inc.,
 5737-5848 North Elizabeth Street Holdings,             Equity One (Northeast Portfolio) LLC
 LLC                                                    The Family Center at Federal Way, LLC
 ExchangeRight Value-Add Portfolio 2                    Jubilee Square, LLC
 Master Lessee, LLC                                     Target Jefferson Boulevard, LLC
 ATT OST Marketplace, LLC                               WM Associates, LP
 GK Holiday Village, LLC                                Freedom Group, LLC
 ARC SSSEBFL001, LLC                                    CPT Louisville I LLC
 Brixmor GA Coastal Landing (FL) LLC                    ARG MPLTRAR001, LLC
 Inland Commercial Real Estate Services                 Westminster Crossing East, LLC
 LLC                                                    Woolbright Wekiva, LLC
 TPC Stonewall Investors I LC                           B Comm Realty, LLC

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 Waterford Lakes Town Center, LLC                       Hamilton Commons TEI Equities LLC
 TREA NW Forum at Carlsbad Owner LLC                    KIR Brandon 011, LLC
 Belleclaire Hotel LLC                                  DTL-SGW LLC & DTR1C-SGW LLC
 F&H Sinclair Properties                                Burlington Gateway Limited Partnership
 555 9th Street LP                                      Hawthorne Investors 1 LLC
 IRC Retail Centers                                     1301 East Gladstone Street Investors, LLC
 IRC Retail Centers                                     Lake Success Shopping Center, LLC
 Equity One (Florida Portfolio) LLC                     Centerra Retail Shops, LLC
 Caldwell Mooney Partners II, LP                        Easton Market LLC
 SCA Tree 1, LLC                                        Centerton Square Owners, LLC
 The Shoppes at Wilton LLC                              Cole MT Folsom CA, LP
 R.K. Associates VIII Inc.                              Site C LLC
 Wethersfield Shopping Center LLC                       Grand Plaza Management, LLC
 Monroeville S.C. LP                                    BBB Plaza Associates Ltd
 Berkshire Merrill Road, LLC                            PRLHCAnnapolis TwnCntr Parole 162302
 News Company LLC                                       Shadowwood Square, LTD
 UTC, LP                                                Oak Street Investment Grade Net Lease
 Regent Shopping Center Inc                             Fund Series 2021-1, LLC
 TKG Coral North, LLC                                   1700 Oxford Drive Partnership
 Beatty Limited Partnership                             FLEMINGTON RETAIL, LLC
 RPAI Southwest Management LLC                          The Widewaters Group, Inc.
 The Cafaro Northwest Partnership                       KIR Montgomery 049, LLC
 Boyer Spring Creek, L.C.                               BRE DDR Fairfax Town Center LLC
 HCP Vista Ridge LLC                                    Equity One (Southeast Portfolio) LLC
 Credi Chattanooga, LLC                                 Dedham Real Estate Development LLC
 Kraus-Anderson, Incorporated                           DDR Southeast Loisdale, L.L.C.
 JLPK-Orange Park, LLC.                                 BCC II, LLC
 LaSalle Shopping Center LLC                            Gateway Center Properties II, LLC
 TSO Winchester Station, LP                             2180 Kings Highway DE LLC
 CP Venture Two, LLC                                    4S Commons Partners, LLC
 G3C Temple, LLC                                        Edens Plaza SC Owner LLC
 RK Hialeah, LLC                                        Sayville Plaza Development Co.
 KIR Pasadena II L.P.                                   RPAI Butler Kinnelon, L.L.C.
 Coral Sky Retail LLC                                   Elmsford-119 Associates LLC
 RK Southington, LLC                                    Salmar Properties LLC
 The Colonies-Pacific, LLC
 PRU/Desert Crossing II, LLC                            Lender Advisor
 KIR Bridgewater 573, LLC                               M3 Partners LP
 M-III Olathe Station Property LLC                      FTI Consulting Inc
 Newbridge, LLC
 Star-West Chicago Ridge, LLC                           Letter of Credit Beneficiary
 Westgate Mall CMBS, LLC                                American Alternative Insurance (BBB)
 Kiemle & Hagood                                        American Alternative Insurance (CTS)
 RPT Realty, L.P.                                       RXR 620 Master Lessee LLC
 Sunset Hills Owner LLC                                 Safety National Casualty
 Dartmouth Marketplace Associates, LLC                  National Cart, LLC

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 North American Corporation of Illinois                 Davis, Chuck
 Travelers Casualty and Surety Company                  Decatur Mall
 Dyson, Inc. (a)                                        Design Toscano
 Safety National Casualty                               Ema Bell
 Arch Insurance Company                                 Emcor Facilities Services, Inc.
 Chubb - Federal Insurance                              Environmental Health Advocates
 Dyson Canada Limited (CAD $1,500,000)                  Floriey Industries
 Sentry Insurance                                       Fox River Commons
 United States Fidelity and Guaranty                    Frederick, Randall
 Breville USA                                           Gastelum, Fernando
 Trisura Insurance (CAD $1,103,586.58)                  Georgiou, Katerina
 AGUA MANSA COMMERCE PHASE I,                           Giebe, Michael
 MATTEL INC.                                            Hayden, Shadi
 WELSPUN USA INC                                        California
 BISSELL INTERNATIONAL TRADING                          Hess, Donald and Padilla, Elizabeth
 MILBERG FACTORS, INC.                                  Jeremy Patrick dba Eastland Electric
 THE CIT GROUP/COMMERCIAL                               Services
 SERVICES,                                              Johnson, Jeffrey
 WHIRLPOOL CORPORATION                                  Kelly, Whitney
 Arch Insurance Company                                 Lopez, Florencia
 J.B. HUNT TRANSPORT, INC.                              Mediant Communications Inc.
 BHF INTERNATIONAL LIMITED                              Munday, Janice
 NEWELL BRANDS INC.                                     Najjar, Kelley Maloney and Talib
 MONAHAN PRODUCTS, LLC                                  Newburgh Mall Ventures
                                                        Kingston, Donette
 Letter of Credit Provider                              Only Kids Apparel, LLC
 JPMorgan Chase Bank, N.A.                              Pengcheng Si
 Bank of America, N.A.                                  Place Services
                                                        Raslavich, Anna
 Litigation                                             Reimer, Ruhi
 Abram, Harwick Chya                                    Robinson, Jarrett, Simone and Laura
 Alan Freeman                                           Sawgrass
 AML IP, LLC,                                           Lloyd, Carol, Murphy, Michael and
 Amos, Sadina                                           Taboada, Natalia
 Anderson, Carol                                        Simon Nicholas Richmond
 APS&EE                                                 Smith, Patricia
 Augenbaum, Todd                                        Spalding, James
 Blue Cross Blue Shield (Anthem)                        Spingarn, Michael and Sandra
 Burt-Deasy, Kelly                                      SSS Village at West Oaks
 CA 5-15 West 125th LLC                                 Systems, LLC
 CAC Atlantic LLC                                       Team Worldwide Corporation
 Cahill, Doreen                                         Topalli, Leutrim
 Cohen, Judith                                          Village of Schaumburg
 Council for Education and Research on                  Waite, Joshua
 Toxics (CERT)                                          Williams and Frost Specialty Group
 Davaco

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 World Market of Texas LLC (fka Cost Plus               Hill Ward & Henderson PA
 of Texas Inc) v YSM Ponderosa                          Jackson Lewis PA
                                                        Lester Schwab Katz & Dwyer LLP
 Non-Debtor Affiliate                                   Mackay Law Inc
 BBB Canada Ltd.                                        Morgan Lewis & Bockius LLP
 Bed Bath & Beyond Canada L.P.                          Norton Rose Fulbright US LLP
 BBB Mexico L.L.C.                                      Osler Hoskin & Harcourt LLP
 Bed Bath & Beyond Mexico S. de R. de                   Riker,Danzig,Scherer,Hyland & Perretti
 C.V.                                                   LLP
 Importadora BBBMex, S de R.L. de C.V.                  Vintage Law, LLC
 Servicios BBBMex, S. de R.L. de C.V.                   PWC
 Servicios, S. de R.L. de C.V.                          Deloitte
 Oak Insurance Company Inc. IC**                        KPMG
 Harmon of Roxbury, Inc.                                TRR/Avalara
                                                        AnyBill
 Office of the United States Trustee                    Cleary Gottlieb Steen & Hamilton LLP
 Andrew Vara                                            Crowell & Morning LLP
 Martha Hildebrandt                                     Epstein Becker Green, P.C.
 Adela Alfaro                                           Huth Reynolds LLP
 Kirsten K. Ardelean                                    Jackson Lewis, P.C.
 Francyne D. Arendas                                    Lerner David LLP
 Michael Artis                                          McKool Smith
 Lauren Bielskie                                        Morgan Lewis
 Peter J. D’Auria                                       Perkins Coie LLP
 Neidy Fuentes                                          Pryor Cashman
 David Gerargi
 Tia Green                                              Secured Lenders
 Joseph C. Kern                                         JPMorgan Chase Bank, N.A.
 Daniel C. Kropiewnicki                                 PNC Bank, National Association
 Maggie McGee                                           Wells Fargo Bank, National Association
 Alexandria Nikolinos                                   Bank of Montreal
 Tina L. Oppelt                                         Bank of America, N.A.
 Angela Ortiz-Ng                                        MUFG Union Bank, N.A.
 Robert J. Schneider, Jr.                               TD Bank, N.A.
 Adam Shaarawy                                          Capital One, National Association
 Jeffrey Sponder                                        Truist Bank
 Fran B. Steele                                         Goldman Sachs Bank USA
 James Stives                                           Webster Bank
 William J. Ziemer                                      TAO Talents, LLC
                                                        Sixth Street Specialty Lending, Inc.
 Ordinary Course Professional                           Sixth Street Lending Partners
 Epstein Becker & Green PC
 Faegre Drinker Biddle & Reath LLP                      Trade
 Greenspoon Marder LLP



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 1                                                              FRIDABABY LLC
 DYSON INC.                                                     GIBSON OVERSEAS, INC./COOKWARE
 FACEBOOK, INC.                                                 EVENFLO COMPANY, INC.
 IDX                                                            KEECO LLC / POLY-FILLED BED
 INTERSOFT DATA LABS INC                                        PILLOW
 KEURIG GREEN MOUNTAIN, INC.                                    CARPENTER COMPANY/THERAPEDIC
 BREVILLE USA INC.                                              BRITAX CHILD SAFETY, INC.
 COMMISSION JUNCTION INC                                        BABYBJORN INC.
 TATA CONSULTANCY SERVICES                                      SKIP HOP INC.
 RYDER INTEGRATED LOGISTICS                                     WORLD DISTRIBUTION SERVICES
 ORACLE AMERICA, INC                                            WILLIAM CARTER CO.
 DATA NETWORKS                                                  DRM WASTE MANAGEMENT INC.
 F 3 METALWORX INC                                              SHARKNINJA OPERATING, LLC/CA
 KITCHENAID PORTABLE APPLIANCES
 Pinterest, Inc.                                                UCC Lien
 MANHATTAN ASSOCIATES INC.                                      JPMORGAN CHASE BANK, N.A., AS
 US MAINTENANCE                                                 ADMINISTRATIVE AGENT
 KEPLER GROUP LLC                                               AMERICAN GREETINGS
 HALO INNOVATIONS INC.                                          CORPORATION
 MARLITE                                                        PAPYRUS-RECYCLED GREETINGS,
 INTELLIGRATED SYSTEMS LLC                                      INC.
 TEMPUR-PEDIC NORTH AMERICA LLC                                 VOXX ACCESSORIES CORPORATION
 VERIZON BUSINESS NETWORK                                       DIMENSION DATA NORTH AMERICA,
 GRANITE TELECOMMUNICATIONS                                     INC.
 LLC                                                            SOMERSET CAPITAL GROUP, LTD.
 CALIBER AMERICAS LLC                                           HALLMARK MARKETING COMPANY,
 ST. GEORGE DISTRIBUTION, CORP                                  LLC
 HOMEDICS USA LLC
 MILLION DOLLAR BABY/VDC                                        Unsecured Noteholder
 PROS CHOICE BEAUTY CARE INC.                                   BlackRock Advisors, LLC
 HILCO MERCHANT RESOURCES LLC                                   Western Asset Management Company, LLC
 ARTSANA USA INC/JUVENILE                                       CIGNA Investments, Inc.
 WELSPUN USA INC/WAMSUTTA                                       CastleKnight Management, L.P.
 HIMATSINGKA/WAMSUTTA/TOWEL                                     Van Eck Associates Corporation
 DYSON CANADA LIMITED/CA                                        BNP Paribas Securities Corporation
 PLACE SERVICES INCORPORATED                                    Morgan Stanley & Company, LLC
 FISHER PRICE BABY GEAR                                         Mellon Investments Corporation
 NEWELL BRANDS CANADA                                           HSBC Bank PLC
 ULC/CA/VDC                                                     J.P. Morgan Investment Management, Inc.
 LEVTEX LLC                                                     Hotchkis and Wiley Capital Management,
 SWIFTWIN SOLUTIONS INC                                         LLC
 MERCHSOURCE LLC                                                Seix Investment Advisors, LLC
 PHILIPS CONSUMER LIFESTYLE

 1
  Includes the top 80% of the Trade parties provided by the Debtors based on share of the Debtors’ fiscal year 2022
 vendor spend.

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 California Public Employees Retirement                 Zest S.A.
 System                                                 State Street Global Advisors (SSgA)
 1832 Asset Management, L.P.                            Muzinich & Company, Inc.
 APG Asset Management US, Inc.                          Nykredit Bank A/S
 Tennessee Farmers Mutual Insurance Co.                 Northern Trust Global Investments, LTD
 Miller Value Partners, LLC                             Banco de Sabadell, S.A
 Northwestern Mutual Investment                         Catholic Family Fraternal Of Texas
 Management Company, LLC                                Croatian Fraternal Union of America
 Bank of America Merrill Lynch Proprietary              PNC Bank, N.A.
 Trading                                                Manhattan Life Insurance
 GSO Capital Partners L.P.                              Flow Traders U.S., LLC
 Verition Fund Management, LLC                          KSKJ Life American Slovenian Catholic
 CTC Alternative Strategies, LTD                        Union
 Invesco Capital Management, LLC                        Aristotle Capital Management, LLC
 Cable Car Capital, LLC                                 CapitalatWork - Foyer Group (Belgium)
 Highbridge Capital Management, LLC                     International City Management Association
 Marathon Asset Management, LTD                         Retirement Corporation
 Deutsche Bank Securities, Inc.                         GIA Partners, LLC
 BNP Paribas Asset Management France                    Selected Funeral and Life Insurance
 Canal Insurance Company                                Company
 Manning & Napier Advisors, LLC                         Bivium Capital Partners, LLC
 SMH Capital Advisors, LLC                              Lawson Kroeker Investment Management,
 PGIM, Inc.                                             Inc.
 LM Capital Group, LLC                                  Murchinson, L.P.
 Altrius Capital Management, Inc.                       Safeway Insurance Group
 Blackstone Liquid Credit Strategies, LLC               Diamond Insurance Group, LTD
 Ameritas Life Insurance Corp. of New York              TOBAM
 Goldman Sachs Asset Management, L.P.                   SumRidge Partners, LLC
 (U.S.)                                                 Lombard Odier Asset Management Europe,
 Asset Allocation & Management Company,                 LTD
 LLC                                                    New York City Comptroller's Office
 BlueCrest Capital Management (U.K.), LLP               Foxhill Capital Partners, LLC
 Franklin Advisers, Inc.                                UBS Securities, LLC
 New Jersey Division of Investment                      Chartwell Investment Partners, LLC
 Squarepoint OPS, LLC                                   PFA Asset Management A/S
 Russell Investment Management, LLC                     Pharus Management S.A.
 Carillon Tower Advisers, Inc.                          Safra Securities, LLC
 Napier Park Global Capital (US), L.P.                  Shlomo Holdings, LTD
 Aviary Capital Enterprises, Inc.                       Citigroup Global Markets, Inc.
 Barclays Capital, Inc.                                 J.P. Morgan Securities, LLC
 AQS Asset Management, LLC                              Virtus Investment Advisers, Inc.
 Mirabaud Asset Management, LTD                         FBL Investment Management Services, Inc.
 Oppenheimer Asset Management Inc.                      BVK- Beamtenversicherungskasse des
 Healthcare of Ontario Pension Plan                     Kantons Zurich
 Pension Reserves Investment Management                 Chicago Capital, LLC
 Board (PRIM)                                           Finlabo SIM S.p.A.

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 Mont Blanc Capital Management AG                       Fidelity Management & Research Company,
 USA Life One Insurance Company of                      LLC
 Indiana                                                MacKay Shields, LLC
 Invesco Advisers, Inc.                                 Alta Capital Management, LLC
 SG Americas Securities, LLC                            DBX Advisors, LLC
 AllianceBernstein, L.P. (U.S.)                         Millenium Advisors, LLC
 BondBloxx Investment Management
 Corporation




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                                                      Exhibit 2
                                                     Connections


 Current and Former Clients of A&M                                Cigna Investments, Inc.
 and/or its Affiliates1                                           CIT Group/Commercial Services, The
 AIG                                                              Citigroup Global Markets, Inc.
 AllianceBernstein, L.P. (U.S.)                                   Continental Insurance Company
 Allianz Global Risks US Insurance                                CSC Generation, Inc.
 Company                                                          Deloitte
 American Greetings Corporation                                   Deutsche Bank Securities, Inc.
 Angelo Gordon                                                    Dimension Data North America, Inc.
 APG Asset Management US, Inc.                                    Donahue Schriber Realty Group, L.P.
 Arboretum Retail, LLC                                            Empire East, LLC
 Arch Insurance Company                                           Endurance American Insurance Company
 Ares Management                                                  (Sompo)
 Banco de Sabadell, S.A                                           Evenflo Company, Inc.
 Banco Popular                                                    Facebook, Inc.
 Bank of America, N.A.                                            Federal Express
 Bank of Montreal                                                 Federal Realty Investment Trust
 Barclays Capital, Inc.                                           Fidelity Management & Research Company
 Berkley Assurance Company                                        Fifth Third
 Berkshire Hathaway Specialty Insurance                           First Hawaiian
 Company                                                          Flow Traders U.S., LLC
 BlackRock Inc                                                    Forest Plaza, LLC
 Blackstone Liquid Credit Strategies, LLC                         FTI Consulting Inc
 Blue Cross Blue Shield (Anthem)                                  Gateway Center Properties II, LLC
 Blue Torch Capital                                               General Security Indemnity Company of
 BlueCrest Capital Management (U.K.), LLP                         Arizona
 BNP Paribas Asset Management France                              Glimcher SuperMall Venture, LLC
 BRE/Pearlridge LLC                                               Goldman Sachs Bank USA
 Brixmor/IA Delco Plaza, LLC                                      Great American Insurance Company
 California Public Employees Retirement                           GSO Capital Partners L.P.
 System                                                           Hallmark Marketing Company, LLC
 Capital One, National Association                                Highbridge Capital Management, LLC
 Carillon Tower Advisers, Inc.                                    Homedics USA LLC
 Centerbridge Partners                                            HSBC Bank PLC
 Cerberus Capital Management                                      Hudson Bay Capital
 Certain Underwriters at Lloyd’s – Syndicate                      Inland Commercial Real Estate Services
 1183 (Validus)                                                   LLC - ICRES
 Chartwell Investment Partners, LLC                               Insurance Corporation of British Columbia
 Chubb – Federal Insurance                                        (ICBC)

 1
   A&M and/ or an affiliate is currently providing or has previously provided certain consulting or interim
 management services to these parties or their affiliates (or, with respect to those parties that are investment funds or
 trusts, to their portfolio or asset managers or their affiliates) in wholly unrelated matters.



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 Invesco Advisers, Inc.                                             RREEF America REIT II Corp. MM
 J.B. Hunt Transport, Inc.                                          Russell Investment Management, LLC
 JPMorgan                                                           Safeway Insurance Group
 Key Bank                                                           Scotia Bank
 KPMG                                                               Scottsdale Insurance Company (Nationwide)
 Lakeline Plaza, LLC                                                SharkNinja Operating, LLC/CA
 Lazard Freres & Co. LLC                                            Silver Point Capital
 Liberty Surplus Insurance Corporation                              Simon Property Group LP
 Macerich Lakewood LP                                               Sixth Street Specialty Lending, Inc.
 MacKay Shields, LLC                                                Somerset Capital Group, Ltd.
 Mattel Inc.                                                        Southgate Mall Montana II LLC
 McKool Smith                                                       State National Insurance Company, Inc.
 Mellon Investments Corporation                                     (Canopius)
 Metropolitan Life Insurance Company                                State Street Global Advisors (SSgA)
 Michaels Stores, Inc.                                              Sycamore Partners
 MidCap Financial                                                   Syndicate 2623/623 at Lloyd’s of London
 Mirabaud Asset Management, LTD                                     (Beazley)
 Morgan Stanley & Company, LLC                                      Tata Consultancy Services
 MUFG Union Bank, N.A.                                              TD Bank, N.A.
 Munzinich & Co                                                     Travelers Casualty and Surety Company
 National Casualty Company (Nationwide)                             TRR/Avalara
 National Retail Properties, LP                                     Truist Bank
 National Union Fire Ins. Co. of Pittsburgh,                        UBS
 PA                                                                 US Bank
 Navigators Insurance Company (Hartford)                            Verizon Business Network
 Newell Brands Inc.                                                 Virtus Investment Advisers, Inc.
 Northern Trust Global Investments, LTD                             Waterford Lakes Town Center, LLC
 Northwestern Mutual Investment                                     Webster Bank
 Management Company, LLC                                            Weingarten Nostat, Inc
 Ohio Casualty Insurance Company (Liberty                           Wells Fargo
 Mutual)                                                            Welspun USA Inc.
 Old Republic Union Insurance Company                               Western Asset Management Company, LLC
 Oppenheimer Asset Management Inc.                                  Whirlpool Corporation
 Oracle America, Inc.                                               Whitemak Associates
 PFA Asset Management A/S                                           Widewaters Group, Inc.
 PGIM, Inc.                                                         XL Insurance America, Inc.
 Pinterest, Inc.                                                    Zurich American Insurance Company
 PNC Bank, N.A.
 PWC                                                                Significant Equity Holders of Current
 Rockaway Town Court LLC                                            and Former A&M Clients2

 2
  These parties or their affiliates (or, with respect to those parties that are investment funds or trusts, their portfolio
 or asset managers or other funds or trusts managed by such managers) are significant equity holders of clients or
 former clients of A&M or its affiliates in wholly unrelated matters.



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 1832 Asset Management, L.P.                         Highbridge Capital Management, LLC
 AIG                                                 Hotchkis and Wiley Capital Management,
 AlixPartners LLP                                    LLC
 AllianceBernstein, L.P. (U.S.)                      HSBC Bank PLC
 Allianz Global Risks US Insurance                   Hudson Bay Capital
 Company                                             Hudson Insurance Company (Euclid)
 Alta Capital Management                             Invesco Advisers, Inc.
 Ameritas Life Insurance Corp. of New York           JPMorgan
 Angelo Gordon                                       Lazard Freres & Co. LLC
 APG Asset Management US, Inc.                       Lombard Odier Asset Management Europe
 Arch Insurance Company                              MacKay Shields, LLC
 Ares Management                                     Marathon Asset Management, LTD
 Aristotle Capital Management, LLC                   Mellon Investments Corporation
 Artsana USA Inc/Juvenile                            Metropolitan Life Insurance Company
 Asset Allocation & Management Company               MidCap Financial
 Banco de Sabadell, S.A                              Milberg Factors, Inc.
 Banco Popular                                       Miller Value Partners, LLC
 Bank of America, N.A.                               Mirabaud Asset Management, LTD
 Bank of Montreal                                    Mont Blanc Capital Management AG
 Barclays Capital, Inc.                              Morgan Stanley & Company, LLC
 BlackRock Inc                                       MUFG Union Bank, N.A.
 Blackstone Liquid Credit Strategies, LLC            National Casualty Company (Nationwide)
 Blue Cross Blue Shield (Anthem)                     Northern Trust Global Investments, LTD
 BlueCrest Capital Management (U.K.), LLP            Northwestern Mutual Investment
 BNP Paribas Asset Management France                 Management Company, LLC
 California Public Employees Retirement              Ohio Casualty Insurance Company (Liberty
 System                                              Mutual)
 Capital One, National Association                   Oppenheimer Asset Management Inc.
 CastleKnight Management, L.P.                       Pension Reserves Investment Management
 Centerbridge Partners                               Board (PRIM)
 Cerberus Capital Management                         PNC Bank, N.A.
 Cigna Investments, Inc.                             Russell Investment Management, LLC
 Citigroup Global Markets, Inc.                      Safeway Insurance Group
 DBX Advisors, LLC                                   Safra Securities, LLC
 Deutsche Bank Securities, Inc.                      Scotia Bank
 Dyson, Inc.                                         Silver Point Capital
 Endurance American Insurance Company                Simon Property Group LP
 (Sompo)                                             Sixth Street Specialty Lending, Inc.
 Fidelity Management & Research Company              Somerset Capital Group, Ltd.
 Fifth Third                                         State Street Global Advisors (SSgA)
 Franklin Advisers, Inc.                             Sycamore Partners
 Frederick, Randall                                  Tata Consultancy Services
 Goldman Sachs Bank USA                              TD Bank, N.A.
 GRE Altamonte LP                                    Tennessee Farmers Mutual Insurance Co.
 GSO Capital Partners L.P.                           TPP 207 Brookhill LLC
 Healthcare of Ohio Pension Plan                     Travelers Casualty and Surety Company

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 Truist Bank                                                       Metropolitan Life Insurance Company
 UBS                                                               Morgan Lewis
 US Bank                                                           Norton Rose Fulbright US LLP
 Van Eck Associates Corporation                                    Osler Hoskin & Harcourt LLP
 Vanguard Group Inc                                                Perkins Coie LLP
 Verition Fund Management, LLC                                     PNC Bank, National Association
 Wells Fargo                                                       Pryor Cashman
 Western Asset Management Company, LLC                             PWC
 XL Insurance America, Inc.                                        Riker, Danzig, Scherer, Hyland & Perretti
 Zurich American Insurance Company                                 LLP
                                                                   SB360 Capital Partners
 Professionals & Advisors3                                         UBS
 A&G Realty Partners, LLC
 AlixPartners LLP                                                  Significant Joint Venture Partners4
 Cleary Gottlieb Steen & Hamilton LLP                              Ares Management
 Cole Schotz P.C.                                                  Bank of America, N.A.
 Crowell & Morning LLP                                             Barclays Capital, Inc.
 Deloitte                                                          Cerberus Capital Management
 Deutsche Bank Securities, Inc.                                    Citigroup Global Markets, Inc.
 Epstein Becker & Green PC                                         Franklin Advisers, Inc.
 Faegre Drinker Biddle & Reath LLP                                 Goldman Sachs Bank USA
 Federal Express                                                   GSO Capital Partners L.P.
 FTI Consulting Inc                                                JPMorgan
 Great American Insurance Company                                  Morgan Stanley & Company, LLC
 Greenspoon Marder LLP                                             Tata Consultancy Services
 Hill Ward & Henderson PA                                          Wells Fargo
 Jackson Lewis PC
 JPMorgan                                                          Board Members/Officers/Employees5
 Kirkland & Ellis LLP                                              Foster, Jonathan
 KPMG                                                              Schechter, Joshua
 Kroll Restructuring Administration LLC                            Bowen, Marjorie
 Lazard Freres & Co. LLC                                           Gove, Sue
 McKool Smith
 Mediant Communications Inc.                                       A&M Vendors6

 3
  These professionals have represented clients in matters where A&M was also an advisor (or provided interim
 management services) to the same client. In certain cases, these professionals may have engaged A&M on behalf of
 such client.

 4
   These parties or their affiliates are significant joint venture partners of other clients or former clients of A&M or its
 affiliates in wholly unrelated matters.
 5
  These parties or their affiliates are or were board members. officers or members of management of other clients or
 former clients of A&M or their affiliates in wholly unrelated matters.

 6
   These parties or their affiliates provide or have provided products, goods and/or services (including but not limited
 to legal representation) to A&M and/or its affiliates

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 AIG                                                 Jackson Lewis PC
 AlixPartners LLP                                    JPMorgan
 Allianz Global Risks US Insurance                   KPMG
 Company                                             Mellon Investments Corporation
 Argonaut Insurance Company                          Metropolitan Life Insurance Company
 Bank of America, N.A.                               Morgan Lewis
 Bank of Montreal                                    National Casualty Company (Nationwide)
 Berkley Assurance Company                           Norton Rose Fulbright US LLP
 BNP Paribas Asset Management France                 Ohio Casualty Insurance Company (Liberty
 BVK – Beamtenversicherungskasse des                 Mutual)
 Kantons Zurich                                      Oracle America, Inc.
 Certain Underwriters at Lloyd’s – Syndicate         Perkins Coie LLP
 1183 (Validus)                                      PNC Bank, N.A.
 Chartwell Investment Partners, LLC                  PWC
 Chubb – Federal Insurance                           UBS
 Cigna Investments, Inc.                             US Bank
 Citigroup Global Markets, Inc.                      Verizon Business Network
 Cleary Gottlieb Steen & Hamilton LLP                Wells Fargo
 Deloitte                                            XL Insurance America, Inc.
 Deutsche Bank Securities, Inc.                      Zurich American Insurance Company
 Epstein Becker & Green PC
 Federal Express
 Fidelity Management & Research Company
 Goldman Sachs Bank USA
 Hill Ward & Henderson PA
 HSBC Bank PLC




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                                    Exhibit B
                                (Proposed Order)
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
 Robert J. Feinstein
 Bradford J. Sandler
 Paul J. Labov
 Colin R. Robinson
 PACHULSKI STANG ZIEHL & JONES LLP
 780 Third Avenue, 34th Floor
 New York, NY 10017
 Telephone: (212) 561-7700
 Facsimile: (212) 561-7777
 rfeinstein@pszjlaw.com
 bsandler@pszjlaw.com
 plabov@pszjlaw.com
 crobinson@pszjlaw.com

Proposed Counsel for the Official Committee of
Unsecured Creditors
 In re:                                                     Chapter 11

 BED BATH & BEYOND INC., et al.,1                           Case No. 23-13359 (VFP)

                                   Debtors.                 (Jointly Administered)




                      ORDER AUTHORIZING EMPLOYMENT AND
  RETENTION OF ALVAREZ & MARSAL NORTH AMERICA, LLC AS FINANCIAL
 ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF THE
 DEBTORS, BED, BATH & BEYOND, INC., ET AL., EFFECTIVE AS OF MAY 10, 2023
      The relief set forth on the following pages, numbered two (2) through five (5), is hereby

 ORDERED.




 1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
     location of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these
     chapter 11 cases is 650 Liberty Avenue, Union, New Jersey 07083.
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            Upon the application (the “Application”) 2 of the Official Committee of Unsecured

 Creditors (the “Committee”) appointed in the chapter 11 cases of the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”), for entry of an order pursuant to sections 328,

 and 1103 of title 11 of the United States Code (the “Bankruptcy Code”), authorizing the

 employment and retention of Alvarez & Marsal North America, LLC (together with its and its

 affiliates’ and wholly owned subsidiaries’ respective agents, independent contractors,

 subcontractors, and employees, “A&M”), as financial advisor to the Committee, effective as of

 May 10, 2023, upon the terms set forth in the Application; and upon the Greenberg Declaration in

 support of the Application; and due and adequate notice of the Application having been given; and

 it appearing that no other or further notice of the Application need be given; and it appearing that,

 based on the representations in the Application and the Greenberg Declaration that A&M and its

 professionals are “disinterested” as such term is defined in section 101(14) of the Bankruptcy Code,

 and neither hold nor represent any adverse interest in these cases as required by section 1103(b) of

 the Bankruptcy Code; and it appearing that the relief requested in the Application is in the best

 interest of the Committee; it is hereby

            ORDERED that:

            1.       The Application is approved as set forth therein.

            2.       In accordance with Bankruptcy Code sections 328 and 1103, the Committee is

 authorized to employ and retain A&M effective as of May 10, 2023, as its financial advisor on the

 terms set forth in the Application without the need for any further action on the part of A&M or

 the Committee to document such retention.




 2
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Application.

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         3.       The terms of A&M’s engagement, as set forth in the Application, including, without

 limitation, the compensation provisions and the indemnification provisions, are reasonable terms

 and conditions of employment and are hereby approved. However, the Debtors’ obligations to

 indemnify A&M pursuant to the indemnification provisions included in the Application are subject

 to the following:

         (a)      all requests by A&M for the payment of indemnification as set forth in this Order

                  shall be made by means of an application to the Court and shall be subject to review

                  by the Court to ensure that payment of such indemnity conforms to the terms of the

                  Application and this Order and is reasonable under the circumstances of the

                  litigation or settlement in respect of which indemnity is sought; provided, however,

                  that in no event shall A&M be indemnified if a court determines by final order

                  (which final order is no longer subject to appeal) that such claim arose out of its

                  own bad faith, breach of fiduciary duty (if any), gross negligence or willful

                  misconduct (including self-dealing);

         (b)      in no event shall A&M be indemnified for any claim that either (i) a court

                  determines by final order (which final order is no longer subject to appeal) that such

                  claim arose out of A&M’s own bad faith, self-dealing, breach of fiduciary duty (if

                  any), gross negligence or willful misconduct, or (ii) the claim is settled prior to a

                  judicial determination as to A&M’s bad faith, self-dealing, breach of fiduciary duty

                  (if any), gross negligence or willful misconduct, but is determined by this Court,

                  after notice and a hearing pursuant to terms of the Application and this Order, to be

                  a claim or expense for which A&M is not entitled to receive indemnity under the

                  terms of the Application and this Order; and


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         (c)      in the event A&M seeks reimbursement from the Debtors for attorneys’ fees and

                  expenses in connection with the payment of an indemnity claim pursuant to this

                  Order, the invoices and supporting time records from such attorneys shall be

                  included in A&M’s own applications, both interim and final, and such invoices and

                  time records shall be subject to the United States Trustee’s Guidelines for

                  compensation and reimbursement of expenses and the approval of the Court

                  pursuant to sections 330 and 331 of the Bankruptcy Code without regard to whether

                  such attorneys have been retained under section 327 of the Bankruptcy Code and

                  without regard to whether such attorneys’ services satisfy section 330(a)(3)(C) of

                  the Bankruptcy Code.

         4.       A&M shall be authorized to use the services of certain subcontractors as set forth

 in the Application (the “Contractors”) and shall: (a) pass through the cost of such Contractors to

 the Debtors at the same rate that A&M pays the Contractors; (b) seek reimbursement for actual

 costs only; (c) require the Contractors to file Rule 2014 affidavits indicating that the Contractors

 have reviewed the Parties in Interest List in this case, disclose the Contractors’ relationships, if

 any, with Parties in Interest List and indicate that the Contractors are disinterested; and (d) A&M

 shall attach any such Contractor invoices to its monthly fee statements, interim fee applications

 and/or final fee applications filed in this case.

         5.       A&M shall file applications for interim and final allowance of compensation and

 reimbursement of expenses pursuant to the procedures set forth in Bankruptcy Code sections 330

 and 331, such Bankruptcy Rules as may then be applicable, the Local Bankruptcy Rules, the

 Guidelines, and the Court’s Interim Compensation Order and any amendments or modifications

 thereto.


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         6.       To the extent that there may be any inconsistency between the terms of the

 Application and this Order, the terms of this Order shall govern.

         7.       The Committee and A&M are authorized to take all actions necessary to effectuate

 the relief granted pursuant to this Order in accordance with the Application.

         8.       This Order shall be immediately effective and enforceable upon its entry.

         9.       Notice of the Application as provided therein is deemed to be good and sufficient

 notice of such Application, and the requirements of the Bankruptcy Rules and the Local

 Bankruptcy Rules are satisfied by the Application.

         10.      This Court shall retain jurisdiction with respect to all matters arising or related to

 the implementation of this Order and A&M’s services for the Committee.




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